                             EXHIBIT B




DOCS_DE:238770.1 85353/002
  Date     Employee Name                Task Category                           Description                    Hours           Rate         Amount
12/1/2021 McHenry, Gina         Claim Valuation                QC Claim Valuation Model updates                        1.3 $     395.00 $       513.50
12/1/2021 McNally, Katheryn     Report Preparation Including   updates to report, including exhibits (1)               3.4       625.00       2,125.00
                                Rebuttal Reports
12/1/2021 DeLarm, Carolyn       Report Preparation Including   Compile Data and Documents used for                     2.8       290.00         812.00
                                Rebuttal Reports               report.
12/1/2021 DeLarm, Carolyn       Report Preparation Including   Review TDP to confirm cross references                  0.9       290.00         261.00
                                Rebuttal Reports               used in report.
12/1/2021 DeLarm, Carolyn       Report Preparation Including   Continue Local council coverage QC.                     1.1       290.00         319.00
                                Rebuttal Reports
12/1/2021 DeLarm, Carolyn       Report Preparation Including   Local council coverage QC.                              4.0       290.00        1,160.00
                                Rebuttal Reports
12/1/2021 DeLarm, Carolyn       Report Preparation Including   Organize exhibits for report.                           0.5       290.00         145.00
                                Rebuttal Reports
12/1/2021 DeLarm, Carolyn       Report Preparation Including   Internal BSA Meeting (PM) relating to                   0.5       290.00         145.00
                                Rebuttal Reports               preparation of the report.
12/1/2021 Harriman, Allison     Report Preparation Including   Review of reference documents and treaties              3.5       395.00        1,382.50
                                Rebuttal Reports               related to settlement calculation
12/1/2021 Martisauski, Brad     Report Preparation Including   Local Policy QC - Continue to review                    3.4       265.00         901.00
                                Rebuttal Reports               Schedule 3 to confirm Entity Policies /
                                                               Limits
12/1/2021 Martisauski, Brad     Report Preparation Including   Internal BSA Meeting (PM) relating to                   0.5       265.00         132.50
                                Rebuttal Reports               preparation of the report.
12/1/2021 Martisauski, Brad     Report Preparation Including   Local Policy QC - Review Schedule 3 to                  3.9       265.00        1,033.50
                                Rebuttal Reports               confirm Entity Policies / Limits
12/1/2021 McNally, Katheryn     Report Preparation Including   review reference materials on litigation risk           1.8       625.00        1,125.00
                                Rebuttal Reports               assessment
12/1/2021 McNally, Katheryn     Report Preparation Including   QC and updates to executive summary                     2.6       625.00        1,625.00
                                Rebuttal Reports
12/1/2021 McNally, Katheryn     Report Preparation Including   Updates to data and docs                                1.1       625.00         687.50
                                Rebuttal Reports
12/1/2021 McNally, Katheryn     Report Preparation Including   updates to report, including exhibits (2)               2.9       625.00        1,812.50
                                Rebuttal Reports
12/1/2021 Nicholson, Brent      Report Preparation Including   Analyze allocation exhibits in the report.              0.9       495.00         445.50
                                Rebuttal Reports
12/1/2021 Cadarette Jr., John   Report Preparation Including   review draft Exec Summary of expert report              1.2       675.00         810.00
                                Rebuttal Reports
12/1/2021 Trilla, Barry         Report Preparation Including   Settlement comp exhibits analysis and                   1.7       395.00         671.50
                                Rebuttal Reports               updates
12/1/2021 McNally, Katheryn     Claim Valuation                call with T. Flanagan and J. Lucas to discuss           0.5       625.00         312.50
                                                               SOL analysis
12/1/2021 Young, Andrew         Report Preparation Including   Expert report preparation - data and docs               3.0       305.00         915.00
                                Rebuttal Reports
12/1/2021 Young, Andrew         Report Preparation Including   Expert report preparation - claim valuation,            2.4       305.00         732.00
                                Rebuttal Reports               footnote review
12/1/2021 Young, Andrew         Report Preparation Including   Expert report preparation/exhibits                      3.3       305.00        1,006.50
                                Rebuttal Reports
12/1/2021 Unverzagt, Eric       Report Preparation Including   First read/review of expert report and                  2.5       350.00         875.00
                                Rebuttal Reports               exhibits
12/1/2021 Trilla, Barry         Report Preparation Including   Internal BSA Meeting (PM) relating to                   0.5       395.00         197.50
                                Rebuttal Reports               preparation of the report.
12/1/2021 Trilla, Barry         Report Preparation Including   Settlement comp report tables analysis and              0.6       395.00         237.00
                                Rebuttal Reports               updates
12/1/2021 Schoenfeld, Erika     Report Preparation Including   Katie mark-up edits to report                           4.0       305.00        1,220.00
                                Rebuttal Reports
12/1/2021 Smith, Hannah         Report Preparation Including   Internal BSA Meeting (PM) relating to                   0.5       265.00         132.50
                                Rebuttal Reports               preparation of the report.
12/1/2021 Smith, Hannah         Report Preparation Including   Drafting Report related exhibits                        4.0       265.00        1,060.00
                                Rebuttal Reports
12/1/2021 Smith, Hannah         Report Preparation Including   Continue Drafting Report related exhibit                3.8       265.00        1,007.00
                                Rebuttal Reports
12/1/2021 Schoenfeld, Erika     Report Preparation Including   Executive Summary Mark-Up                               2.0       305.00         610.00
                                Rebuttal Reports
12/1/2021 Schoenfeld, Erika     Report Preparation Including   Push through Katie edits, clean up footnotes            3.2       305.00         976.00
                                Rebuttal Reports               and re-review report before sending to
                                                               Counsel
12/1/2021 Schoenfeld, Erika     Report Preparation Including   References/Citations for Report FNs                     4.0       305.00        1,220.00
                                Rebuttal Reports
  Date      Employee Name               Task Category                         Description                    Hours         Rate       Amount
12/1/2021 DeLarm, Carolyn       Report Preparation Including   Update appendices for report.                         0.9     290.00       261.00
                                Rebuttal Reports
12/1/2021 Martisauski, Brad     Report Preparation Including   Expert Report QC - confirming numerical               3.7     265.00       980.50
                                Rebuttal Reports               values throughout report
12/1/2021 Boswell, Anne         Report Preparation Including   Continued Local Counsel Coverage QC                   3.8     305.00      1,159.00
          Margaret              Rebuttal Reports
12/1/2021 Woloszyk, Evan        Report Preparation Including   Internal BSA Meeting (PM) relating to                 0.5     265.00       132.50
                                Rebuttal Reports               preparation of the report.
12/1/2021 Burke, Evan           Insurance Coverage Analysis    Continue Local Policy stack QC                        1.4     290.00        406.00
12/1/2021 Burke, Evan           Insurance Coverage Analysis    Local Policy stack QC                                 4.0     290.00      1,160.00
12/1/2021 McHenry, Gina         Insurance Coverage Analysis    call with KMcNally, Hsmith, BNicholson to             0.5     395.00        197.50
                                                               discuss Hartford depo
12/1/2021 McHenry, Gina         Insurance Coverage Analysis    Internal communication, zoom, with Brent              0.5     395.00       197.50
                                                               regarding insurance coverage and
                                                               allocations.
12/1/2021 McHenry, Gina         Insurance Coverage Analysis    Correspondence to counsel re: Hartford                1.2     395.00       474.00
                                                               deposition and stipulations.
12/1/2021 McHenry, Gina         Insurance Coverage Analysis    Update Local Council policy dates for                 2.1     395.00       829.50
                                                               Report
12/1/2021 McHenry, Gina         Insurance Coverage Analysis    Reviewed Hartford coverage for Local and              1.9     395.00       750.50
                                                               National Councils
12/1/2021 McHenry, Gina         Insurance Coverage Analysis    Allocation QC Analysis.                               1.6     395.00       632.00
12/1/2021 Woloszyk, Evan        Report Preparation Including   Continued Settlement Comp Exhibit updates             1.4     265.00       371.00
                                Rebuttal Reports
12/1/2021 Woloszyk, Evan        Report Preparation Including   Settlement Comp Exhibit Updates                       4.0     265.00      1,060.00
                                Rebuttal Reports
12/1/2021 Harriman, Allison     Insurance Coverage Analysis    Allocation QC of Estimate B Apportionment             3.0     395.00      1,185.00
                                                               Scenario 1
12/1/2021 Woloszyk, Evan        Report Preparation Including   Continued Verdict Comp Exhibit Updates                2.2     265.00       583.00
                                Rebuttal Reports
12/1/2021 Woloszyk, Evan        Report Preparation Including   Verdict Comp Exhibit Updates                          4.0     265.00      1,060.00
                                Rebuttal Reports
12/1/2021 Boswell, Anne         Report Preparation Including   Revise Sept Fee Application                           2.0     305.00       610.00
          Margaret              Rebuttal Reports
12/1/2021 Trilla, Barry         Comparable Matters             Settlement comp data analysis                         1.3     395.00       513.50
                                Research/Analysis
12/1/2021 Young, Andrew         Claim Valuation                Claim valuation database updates                      2.5     305.00       762.50
12/1/2021 Young, Andrew         Claim Valuation                Claim valuation database QC                           1.9     305.00       579.50
12/1/2021 Cadarette Jr., John   Insurance Coverage Analysis    review several allocation scenarios and               1.1     675.00       742.50
                                                               emails re same
12/1/2021 Trilla, Barry         Comparable Matters             Verdict comp exhibits analysis and updates            0.8     395.00       316.00
                                Research/Analysis
12/1/2021 Harriman, Allison     Insurance Coverage Analysis    QC of allocation results to local counsel             4.0     395.00      1,580.00
                                                               coverage programs
12/1/2021 Nicholson, Brent      Insurance Coverage Analysis    Continued to analyze insurance allocations            2.8     495.00      1,386.00
                                                               for multiple scenarios.
12/1/2021 McNally, Katheryn     Insurance Coverage Analysis    call with GMcHenry, Hsmith, BNicholson to             0.5     625.00       312.50
                                                               discuss Hartford depo
12/1/2021 Boswell, Anne         Report Preparation Including   Local Counsel Coverage QC                             3.5     305.00      1,067.50
          Margaret              Rebuttal Reports
12/1/2021 Boswell, Anne         Report Preparation Including   Internal BSA Meeting (PM) relating to                 0.5     305.00       152.50
          Margaret              Rebuttal Reports               preparation of the report.
12/1/2021 Smith, Hannah         Report Preparation Including   BSA Insurance Allocation Analysis                     4.0     265.00      1,060.00
                                Rebuttal Reports
12/1/2021 Smith, Hannah         Insurance Coverage Analysis    Internal communication with Brent regarding           0.3     265.00        79.50
                                                               insurance coverage and allocations.

12/1/2021 Smith, Hannah         Insurance Coverage Analysis    call with GMcHenry, KMcNally, BNicholson              0.5     265.00       132.50
                                                               to discuss Hartford depo
12/1/2021 McHenry, Gina         Report Preparation Including   Edit Report and exhibits                              2.1     395.00       829.50
                                Rebuttal Reports
12/1/2021 Nicholson, Brent      Insurance Coverage Analysis    Internal correspondence with Allison                  0.4     495.00       198.00
                                                               regarding insurance coverage and
                                                               allocations.
12/1/2021 Nicholson, Brent      Insurance Coverage Analysis    call with GMcHenry, KMcNally, HSmith to               0.5     495.00       247.50
                                                               discuss Hartford depo
  Date      Employee Name             Task Category                           Description                      Hours         Rate       Amount
12/1/2021 Nicholson, Brent    Insurance Coverage Analysis    Internal communication, zoom, with Gina                   0.5     495.00       247.50
                                                             regarding insurance coverage and
                                                             allocations.
12/1/2021 Nicholson, Brent    Insurance Coverage Analysis    Internal communication with Hannah                        0.3     495.00       148.50
                                                             regarding insurance coverage and
                                                             allocations.
12/1/2021 Nicholson, Brent    Insurance Coverage Analysis    Internal correspondence with Gina regarding               0.2     495.00        99.00
                                                             insurance coverage and allocations.

12/1/2021 Nicholson, Brent    Insurance Coverage Analysis    Analyze insurance allocations for multiple                2.6     495.00      1,287.00
                                                             scenarios.
12/1/2021 Nicholson, Brent    Insurance Coverage Analysis    Continued to analyze insurance allocations                1.9     495.00       940.50
                                                             for multiple scenarios.
12/2/2021 McNally, Katheryn   Report Preparation Including   updates to report, including exhibits (2)                 2.7     625.00      1,687.50
                              Rebuttal Reports
12/2/2021 McNally, Katheryn   Report Preparation Including   updates to report, including exhibits (1)                 1.7     625.00      1,062.50
                              Rebuttal Reports
12/2/2021 Martisauski, Brad   Report Preparation Including   Review draft report + appendices for Data &               2.1     265.00       556.50
                              Rebuttal Reports               Docs Considered
12/2/2021 Martisauski, Brad   Report Preparation Including   Report Appendices QC - Confirming Figures                 3.9     265.00      1,033.50
                              Rebuttal Reports               / Footnotes
12/2/2021 Harriman, Allison   Report Preparation Including   Continued review of reference documents                   3.0     395.00      1,185.00
                              Rebuttal Reports               and treaties related to settlement calculation;
                                                             footnote review and updates
12/2/2021 Harriman, Allison   Report Preparation Including   Internal BSA Meeting (AM) relating to                     0.5     395.00       197.50
                              Rebuttal Reports               preparation of the report.
12/2/2021 Harriman, Allison   Report Preparation Including   Review of reference documents and treaties                4.0     395.00      1,580.00
                              Rebuttal Reports               related to settlement calculation; footnote
                                                             review and updates
12/2/2021 DeLarm, Carolyn     Report Preparation Including   Internal BSA Meeting (AM) relating to                     0.5     290.00       145.00
                              Rebuttal Reports               preparation of the report.
12/2/2021 DeLarm, Carolyn     Report Preparation Including   Gather data and docs considered.                          3.9     290.00      1,131.00
                              Rebuttal Reports
12/2/2021 McNally, Katheryn   Report Preparation Including   updates to Appendices                                     1.2     625.00       750.00
                              Rebuttal Reports
12/2/2021 DeLarm, Carolyn     Report Preparation Including   Report QC.                                                2.1     290.00       609.00
                              Rebuttal Reports
12/2/2021 McNally, Katheryn   Report Preparation Including   updates to data and documents considered                  2.1     625.00      1,312.50
                              Rebuttal Reports               and related document organization for
                                                             production
12/2/2021 Smith, Hannah       Report Preparation Including   Internal BSA Meeting (AM) relating to                     0.5     265.00       132.50
                              Rebuttal Reports               preparation of the report.
12/2/2021 McNally, Katheryn   Report Preparation Including   full report review for QC                                 3.5     625.00      2,187.50
                              Rebuttal Reports
12/2/2021 Nicholson, Brent    Report Preparation Including   Internal BSA Meeting (AM) relating to                     0.5     495.00       247.50
                              Rebuttal Reports               preparation of the report.
12/2/2021 Nicholson, Brent    Report Preparation Including   Internal BSA Meeting (PM) relating to                     0.3     495.00       148.50
                              Rebuttal Reports               preparation of the report.
12/2/2021 Nicholson, Brent    Report Preparation Including   Analyze allocation exhibits in the report.                1.8     495.00       891.00
                              Rebuttal Reports
12/2/2021 Schoenfeld, Erika   Report Preparation Including   Exhibit & Appendix updates. Table of                      4.0     305.00      1,220.00
                              Rebuttal Reports               Contents for Report, formatting and regroups

12/2/2021 Schoenfeld, Erika   Report Preparation Including   Edits from Eric Review & new info in other                4.0     305.00      1,220.00
                              Rebuttal Reports               sections
12/2/2021 Smith, Hannah       Report Preparation Including   Drafting Report related exhibit                           4.0     265.00      1,060.00
                              Rebuttal Reports
12/2/2021 Trilla, Barry       Report Preparation Including   Comp report tables and exhibits analysis and              1.8     395.00       711.00
                              Rebuttal Reports               updates
12/2/2021 Trilla, Barry       Report Preparation Including   Internal BSA Meeting (AM) relating to                     0.5     395.00       197.50
                              Rebuttal Reports               preparation of the report.
12/2/2021 Unverzagt, Eric     Report Preparation Including   Continue Detailed review and redlines of                  1.0     350.00       350.00
                              Rebuttal Reports               expert report and exhibits
12/2/2021 Unverzagt, Eric     Report Preparation Including   Continue Detailed review and redlines of                  4.0     350.00      1,400.00
                              Rebuttal Reports               expert report and exhibits
12/2/2021 Unverzagt, Eric     Report Preparation Including   Detailed review and redlines of expert report             4.0     350.00      1,400.00
                              Rebuttal Reports               and exhibits
  Date      Employee Name             Task Category                           Description                   Hours         Rate       Amount
12/2/2021 Young, Andrew       Report Preparation Including   Expert report preparation                              4.0     305.00     1,220.00
                              Rebuttal Reports
12/2/2021 Tecce, Brendan      Report Preparation Including   Work on Data and Documents Considered                  0.3     305.00        91.50
                              Rebuttal Reports
12/2/2021 Boswell, Anne       Report Preparation Including   Draft report QC                                        1.8     305.00       549.00
          Margaret            Rebuttal Reports
12/2/2021 DeLarm, Carolyn     Report Preparation Including   Internal BSA Meeting (PM) relating to                  0.3     290.00        87.00
                              Rebuttal Reports               preparation of the report.
12/2/2021 McNally, Katheryn   Claim Valuation                Outstanding SOL questions to counsel                   0.7     625.00       437.50
12/2/2021 Boswell, Anne       Report Preparation Including   Internal BSA Meeting (AM) relating to                  0.5     305.00       152.50
          Margaret            Rebuttal Reports               preparation of the report.
12/2/2021 Woloszyk, Evan      Comparable Matters             Updated comp discussion with Barry                     0.3     265.00        79.50
                              Research/Analysis
12/2/2021 Boswell, Anne       Fee Application                Continued September Fee Application                    1.0     305.00       305.00
          Margaret
12/2/2021 Boswell, Anne       Report Preparation Including   Internal BSA Meeting (PM) relating to                  0.3     305.00        91.50
          Margaret            Rebuttal Reports               preparation of the report.
12/2/2021 McHenry, Gina       Claim Valuation                Date of abuse claim analysis                           2.4     395.00       948.00
12/2/2021 McNally, Katheryn   Claim Valuation                call with T. Flanagan, A. Kornfeld, J. Lucas           1.0     625.00       625.00
                                                             to discuss report status and open issues

12/2/2021 McNally, Katheryn   Claim Valuation                TCJC claim analysis                                    0.5     625.00       312.50
12/2/2021 McNally, Katheryn   Claim Valuation                QC of claims valuation for non-touching                0.9     625.00       562.50
                                                             claims
12/2/2021 Young, Andrew       Claim Valuation                Claim valuation - TCJC claims                          1.9     305.00       579.50
12/2/2021 Young, Andrew       Claim Valuation                Claim Valuation Database - reporting                   3.0     305.00       915.00
                                                             queries
12/2/2021 Trilla, Barry       Comparable Matters             Updated comp discussion with Evan                      0.3     395.00       118.50
                              Research/Analysis
12/2/2021 Trilla, Barry       Comparable Matters             Updated BSA Settlement comp data analysis              2.2     395.00       869.00
                              Research/Analysis
12/2/2021 Woloszyk, Evan      Comparable Matters             Verdict Comp Exhibit Updates                           4.0     265.00      1,060.00
                              Research/Analysis
12/2/2021 McHenry, Gina       Claim Valuation                QC Claim Valuation Model updates                       1.2     395.00       474.00
12/2/2021 Woloszyk, Evan      Comparable Matters             Settlement Comp Analysis                               2.1     265.00       556.50
                              Research/Analysis
12/2/2021 Nicholson, Brent    Insurance Coverage Analysis    Continued to analyze insurance allocations             2.6     495.00      1,287.00
                                                             for multiple scenarios.
12/2/2021 Harriman, Allison   Report Preparation Including   Appendix A review and updates to schedules             1.5     395.00       592.50
                              Rebuttal Reports
12/2/2021 McHenry, Gina       Report Preparation Including   Edit Report and exhibits                               3.3     395.00      1,303.50
                              Rebuttal Reports
12/2/2021 Smith, Hannah       Report Preparation Including   BSA Insurance Allocation Analysis                      4.0     265.00      1,060.00
                              Rebuttal Reports
12/2/2021 Nicholson, Brent    Insurance Coverage Analysis    Analyze insurance allocations for multiple             2.3     495.00      1,138.50
                                                             scenarios.
12/2/2021 Nicholson, Brent    Insurance Coverage Analysis    Continued to analyze insurance allocations             1.2     495.00       594.00
                                                             for multiple scenarios.
12/2/2021 Smith, Hannah       Report Preparation Including   Continue BSA Insurance Allocation Analysis             0.2     265.00        53.00
                              Rebuttal Reports
12/2/2021 Young, Andrew       Database Validation            Reviewed new claims data file                          1.5     305.00       457.50
12/2/2021 McNally, Katheryn   Insurance Coverage Analysis    review and analysis of Kolman report                   1.2     625.00       750.00
12/2/2021 Burke, Evan         Report Preparation Including   Internal BSA Meeting (AM) relating to                  0.5     290.00       145.00
                              Rebuttal Reports               preparation of the report.
12/2/2021 McHenry, Gina       Insurance Coverage Analysis    Continue LC Coverage QC                                1.4     395.00       553.00
12/2/2021 McNally, Katheryn   Insurance Coverage Analysis    outstanding coverage items to counsel                  0.6     625.00       375.00
12/3/2021 Harriman, Allison   Report Preparation Including   Appendix C memo and schedule updates                   1.5     395.00       592.50
                              Rebuttal Reports
12/3/2021 Nicholson, Brent    Report Preparation Including   Continued to analyze allocation exhibits in            1.9     495.00       940.50
                              Rebuttal Reports               the report.
12/3/2021 Nicholson, Brent    Report Preparation Including   Analyze allocation exhibits in the report.             2.6     495.00      1,287.00
                              Rebuttal Reports
12/3/2021 McNally, Katheryn   Report Preparation Including   updates to report, including exhibits (2)              3.5     625.00      2,187.50
                              Rebuttal Reports
12/3/2021 McNally, Katheryn   Report Preparation Including   updates to report, including exhibits (1)              3.1     625.00      1,937.50
                              Rebuttal Reports
  Date     Employee Name                Task Category                          Description                     Hours         Rate       Amount
12/3/2021 Martisauski, Brad     Report Preparation Including   Sample additional claimant to achieve 95%               3.8     265.00     1,007.00
                                Rebuttal Reports               confidence and incorporate into report

12/3/2021 McNally, Katheryn     Report Preparation Including   updates to Executive summary                            3.3     625.00      2,062.50
                                Rebuttal Reports
12/3/2021 Martisauski, Brad     Report Preparation Including   Internal correspondence with Allison                    0.4     265.00       106.00
                                Rebuttal Reports               regarding report preparation.
12/3/2021 Harriman, Allison     Report Preparation Including   Continued report and appendices drafting,               2.0     395.00       790.00
                                Rebuttal Reports               proofing, edits, and updates
12/3/2021 Harriman, Allison     Report Preparation Including   Report and appendices drafting, proofing,               4.0     395.00      1,580.00
                                Rebuttal Reports               edits, and updates
12/3/2021 Schoenfeld, Erika     Report Preparation Including   Incorporate updates to McNally Expert                   4.0     305.00      1,220.00
                                Rebuttal Reports               Report
12/3/2021 Schoenfeld, Erika     Report Preparation Including   Table of content formatting / indenting                 0.5     305.00       152.50
                                Rebuttal Reports
12/3/2021 Trilla, Barry         Report Preparation Including   Settlement comp data and docs analysis and              0.8     395.00       316.00
                                Rebuttal Reports               updates
12/3/2021 Schoenfeld, Erika     Report Preparation Including   Report layouts, font, bullets, tables, etc.             4.0     305.00      1,220.00
                                Rebuttal Reports               formatting and spacing throughout, regroups,
                                                               law citations
12/3/2021 Smith, Hannah         Report Preparation Including   Drafting Report related exhibit                         4.0     265.00      1,060.00
                                Rebuttal Reports
12/3/2021 Smith, Hannah         Report Preparation Including   Continue Drafting Report related exhibit                0.8     265.00       212.00
                                Rebuttal Reports
12/3/2021 Tecce, Brendan        Report Preparation Including   Update Survivor Estimation Schedules                    0.2     305.00        61.00
                                Rebuttal Reports
12/3/2021 Trilla, Barry         Report Preparation Including   Comp related footnote analysis and updates              0.8     395.00       316.00
                                Rebuttal Reports
12/3/2021 Trilla, Barry         Report Preparation Including   Comp report tables and exhibits analysis and            0.7     395.00       276.50
                                Rebuttal Reports               updates
12/3/2021 Unverzagt, Eric       Report Preparation Including   Continue Detailed review and redlines of                4.0     350.00      1,400.00
                                Rebuttal Reports               expert report appendices and continued
                                                               review of revised expert report and exhibits

12/3/2021 Unverzagt, Eric       Report Preparation Including   Detailed review and redlines of expert report           4.0     350.00      1,400.00
                                Rebuttal Reports               appendices and continued review of revised
                                                               expert report and exhibits
12/3/2021 Young, Andrew         Report Preparation Including   Report preparation, prepared tables for                 1.8     305.00       549.00
                                Rebuttal Reports               report and executive summary
12/3/2021 Young, Andrew         Report Preparation Including   Expert report preparation                               3.9     305.00      1,189.50
                                Rebuttal Reports
12/3/2021 Young, Andrew         Report Preparation Including   Expert report preparation                               3.8     305.00      1,159.00
                                Rebuttal Reports
12/3/2021 Harriman, Allison     Report Preparation Including   Review of and updates to survivor estimate              2.3     395.00       908.50
                                Rebuttal Reports               projections; Appendix C edits
12/3/2021 DeLarm, Carolyn       Report Preparation Including   Finalize data and docs.                                 1.0     290.00       290.00
                                Rebuttal Reports
12/3/2021 DeLarm, Carolyn       Report Preparation Including   Continue to Consolidate Data and docs and               0.8     290.00       232.00
                                Rebuttal Reports               prepare exhibit preparation.
12/3/2021 DeLarm, Carolyn       Report Preparation Including   Consolidate Data and docs and prepare                   4.0     290.00      1,160.00
                                Rebuttal Reports               exhibit preparation.
12/3/2021 Cadarette Jr., John   Insurance Coverage Analysis    work on allocations for valuation                       0.5     675.00       337.50
12/3/2021 Cadarette Jr., John   Report Preparation Including   corresp. re report status                               0.4     675.00       270.00
                                Rebuttal Reports
12/3/2021 Young, Andrew         Database Validation            Internal correspondence with Hung -                     1.0     305.00       305.00
                                                               database validation
12/3/2021 Boswell, Anne         Report Preparation Including   Report QC table of contents                             0.7     305.00       213.50
          Margaret              Rebuttal Reports
12/3/2021 McHenry, Gina         Insurance Coverage Analysis    Review Kolman report for discounts                      2.1     395.00       829.50
12/3/2021 McHenry, Gina         Claim Valuation                QC Claim Valuation Model updates                        0.8     395.00       316.00
12/3/2021 Harriman, Allison     Claim Valuation                Appendix D updates and review                           0.5     395.00       197.50
12/3/2021 McNally, Katheryn     Claim Valuation                call with T. Flanagan, A. Kornfeld, J. Lucas            0.3     625.00       187.50
                                                               to discuss SOL analysis
12/3/2021 Trilla, Barry         Comparable Matters             Updated BSA Settlement comp data analysis               2.6     395.00      1,027.00
                                Research/Analysis
12/3/2021 Woloszyk, Evan        Comparable Matters             Settlement Comp Analysis                                4.0     265.00      1,060.00
                                Research/Analysis
  Date     Employee Name              Task Category                        Description                      Hours         Rate       Amount
12/3/2021 Woloszyk, Evan      Comparable Matters             Settlement Comp Exhibit Updates                        1.3     265.00       344.50
                              Research/Analysis
12/3/2021 Woloszyk, Evan      Comparable Matters             Verdict Comp Analysis                                  4.0     265.00      1,060.00
                              Research/Analysis
12/3/2021 Harriman, Allison   Report Preparation Including   Review of incorporation of additional                  1.5     395.00       592.50
                              Rebuttal Reports               selection into Appendix A and schedules
12/3/2021 Nguyen, Hung        Database Validation            Perform data comparison of counsel latest              1.0     350.00       350.00
                                                             data file to what was provided before to see
                                                             if anything has changed.
12/3/2021 Trilla, Barry       Comparable Matters             Verdict comp analysis and updates                      2.8     395.00      1,106.00
                              Research/Analysis
12/3/2021 McHenry, Gina       Insurance Coverage Analysis    Allocation Scenarios QC                                4.0     395.00      1,580.00
12/3/2021 Nicholson, Brent    Insurance Coverage Analysis    Internal communications with Hannah                    0.4     495.00        198.00
                                                             regarding insurance coverage and
                                                             allocations.
12/3/2021 Boswell, Anne       Fee Application                Continued October Fee Application                      1.5     305.00       457.50
          Margaret
12/3/2021 McHenry, Gina       Report Preparation Including   Report edits.                                          3.5     395.00      1,382.50
                              Rebuttal Reports
12/3/2021 Smith, Hannah       Insurance Coverage Analysis    Internal communications with Brent                     0.4     265.00       106.00
                                                             regarding insurance coverage and
                                                             allocations.
12/3/2021 Smith, Hannah       Report Preparation Including   Continue BSA Insurance Allocation Analysis             4.0     265.00      1,060.00
                              Rebuttal Reports
12/3/2021 Smith, Hannah       Report Preparation Including   BSA Insurance Allocation Analysis                      4.0     265.00      1,060.00
                              Rebuttal Reports
12/3/2021 Nicholson, Brent    Insurance Coverage Analysis    Continued to analyze insurance allocations             1.0     495.00       495.00
                                                             for multiple scenarios.
12/3/2021 Nicholson, Brent    Insurance Coverage Analysis    Continued to analyze insurance allocations             2.3     495.00      1,138.50
                                                             for multiple scenarios.
12/3/2021 Nicholson, Brent    Insurance Coverage Analysis    Analyze insurance allocations for multiple             2.5     495.00      1,237.50
                                                             scenarios.
12/3/2021 Nicholson, Brent    Insurance Coverage Analysis    Internal correspondence with Gina regarding            0.1     495.00        49.50
                                                             insurance coverage and allocations.

12/3/2021 McNally, Katheryn   Insurance Coverage Analysis    review and analysis of Kolman report                   1.2     625.00       750.00
12/3/2021 McNally, Katheryn   Insurance Coverage Analysis    address insurance allocation question from             0.6     625.00       375.00
                                                             counsel re: aggregate limit
12/4/2021 Harriman, Allison   Report Preparation Including   Review of and updates to survivor estimate             2.0     395.00       790.00
                              Rebuttal Reports               projections; Appendix C edits
12/4/2021 Nicholson, Brent    Report Preparation Including   Internal correspondence with Gina regarding            1.2     495.00       594.00
                              Rebuttal Reports               report preparation.
12/4/2021 McNally, Katheryn   Report Preparation Including   updates to report, including exhibits (1)              3.9     625.00      2,437.50
                              Rebuttal Reports
12/4/2021 McNally, Katheryn   Report Preparation Including   updates to Executive summary                           3.6     625.00      2,250.00
                              Rebuttal Reports
12/4/2021 McNally, Katheryn   Report Preparation Including   updates to report, including exhibits (2)              3.5     625.00      2,187.50
                              Rebuttal Reports
12/4/2021 McNally, Katheryn   Report Preparation Including   finalize document production                           1.7     625.00      1,062.50
                              Rebuttal Reports
12/4/2021 Nicholson, Brent    Report Preparation Including   Working on Report preparation.                         2.4     495.00      1,188.00
                              Rebuttal Reports
12/4/2021 Trilla, Barry       Report Preparation Including   Comp report tables and exhibits analysis and           1.2     395.00       474.00
                              Rebuttal Reports               updates
12/4/2021 Schoenfeld, Erika   Report Preparation Including   Report changes, regroup                                2.5     305.00       762.50
                              Rebuttal Reports
12/4/2021 Schoenfeld, Erika   Report Preparation Including   Review of Katie CV                                     1.0     305.00       305.00
                              Rebuttal Reports
12/4/2021 Schoenfeld, Erika   Report Preparation Including   Appendix C - edits from Allison, citations,            3.7     305.00      1,128.50
                              Rebuttal Reports               schedule reviews & questions to Brendan
12/4/2021 Smith, Hannah       Report Preparation Including   Analyze Kolman Report                                  3.0     265.00       795.00
                              Rebuttal Reports
12/4/2021 Tecce, Brendan      Report Preparation Including   Update Survivor Estimation Footnotes                   0.3     305.00        91.50
                              Rebuttal Reports
12/4/2021 Trilla, Barry       Report Preparation Including   Dr. Conte expert report and corresponding              2.1     395.00       829.50
                              Rebuttal Reports               verdict comp exhibit analysis
  Date      Employee Name               Task Category                           Description                    Hours         Rate       Amount
12/4/2021 Young, Andrew         Report Preparation Including   Expert report preparation/exhibits, data and            3.9     305.00     1,189.50
                                Rebuttal Reports               docs package
12/4/2021 Cadarette Jr., John   Report Preparation Including   review final draft of exec. summary of expert           1.0     675.00       675.00
                                Rebuttal Reports               report
12/4/2021 Harriman, Allison     Report Preparation Including   Report and appendices drafting, proofing,               4.0     395.00      1,580.00
                                Rebuttal Reports               edits, and updates
12/4/2021 Young, Andrew         Report Preparation Including   Expert report preparation - claim valuation,            3.9     305.00      1,189.50
                                Rebuttal Reports               footnote review
12/4/2021 McHenry, Gina         Report Preparation Including   Report edits.                                           4.0     395.00      1,580.00
                                Rebuttal Reports
12/4/2021 Woloszyk, Evan        Comparable Matters             Verdict Comp Exhibit Updates                            4.0     265.00      1,060.00
                                Research/Analysis
12/4/2021 McHenry, Gina         Report Preparation Including   Continue on report edits                                2.4     395.00       948.00
                                Rebuttal Reports
12/4/2021 McNally, Katheryn     Claim Valuation                updates to claim valuation                              1.5     625.00        937.50
12/4/2021 Young, Andrew         Claim Valuation                Claim Valuation Database - SOL updates                  3.9     305.00      1,189.50
12/4/2021 Trilla, Barry         Comparable Matters             Settlement comp SOL analysis and updates                0.9     395.00        355.50
                                Research/Analysis
12/4/2021 Trilla, Barry         Comparable Matters             Updated BSA Settlement comp data update                 2.9     395.00      1,145.50
                                Research/Analysis              analysis and QC
12/4/2021 Trilla, Barry         Comparable Matters             Open statute settlement comp analysis                   1.8     395.00       711.00
                                Research/Analysis
12/4/2021 Trilla, Barry         Comparable Matters             Verdict comp exhibit analysis and updates               1.4     395.00       553.00
                                Research/Analysis
12/4/2021 McHenry, Gina         Report Preparation Including   QC report exhibits                                      4.0     395.00      1,580.00
                                Rebuttal Reports
12/4/2021 Woloszyk, Evan        Comparable Matters             Continued Settlement Comp Exhibit Updates               2.7     265.00       715.50
                                Research/Analysis
12/4/2021 Smith, Hannah         Report Preparation Including   BSA Insurance Allocation Analysis                       4.0     265.00      1,060.00
                                Rebuttal Reports
12/4/2021 Woloszyk, Evan        Comparable Matters             Settlement Comp Exhibit Updates                         4.0     265.00      1,060.00
                                Research/Analysis
12/4/2021 Smith, Hannah         Report Preparation Including   Continue BSA Insurance Allocation Analysis              4.0     265.00      1,060.00
                                Rebuttal Reports
12/4/2021 Young, Andrew         Report Preparation Including   Insurance coverage exhibit QC                           1.2     305.00       366.00
                                Rebuttal Reports
12/4/2021 Nicholson, Brent      Insurance Coverage Analysis    Continued to analyze insurance allocations              0.8     495.00       396.00
                                                               for multiple scenarios.
12/4/2021 Nicholson, Brent      Insurance Coverage Analysis    Analyze insurance allocations for multiple              1.8     495.00       891.00
                                                               scenarios.
12/4/2021 McNally, Katheryn     Insurance Coverage Analysis    updates to insurance allocation                         1.8     625.00      1,125.00
12/4/2021 McHenry, Gina         Insurance Coverage Analysis    Allocation Updates and QC                               4.0     395.00      1,580.00
12/5/2021 McNally, Katheryn     Report Preparation Including   updates to report, including exhibits (1)               3.0     625.00      1,875.00
                                Rebuttal Reports
12/5/2021 Trilla, Barry         Report Preparation Including   Report appendix analysis and updates                    0.3     395.00       118.50
                                Rebuttal Reports
12/5/2021 Trilla, Barry         Report Preparation Including   Comp report tables and exhibits analysis and            0.7     395.00       276.50
                                Rebuttal Reports               updates
12/5/2021 Smith, Hannah         Report Preparation Including   Drafting Report related exhibits                        0.5     265.00       132.50
                                Rebuttal Reports
12/5/2021 Nicholson, Brent      Report Preparation Including   Continued to analyze allocation exhibits in             1.8     495.00       891.00
                                Rebuttal Reports               the report.
12/5/2021 Nicholson, Brent      Report Preparation Including   Analyze allocation exhibits in the report.              2.2     495.00      1,089.00
                                Rebuttal Reports
12/5/2021 McNally, Katheryn     Report Preparation Including   updates to report, including exhibits (2)               3.3     625.00      2,062.50
                                Rebuttal Reports
12/5/2021 McNally, Katheryn     Report Preparation Including   finalize document production                            1.2     625.00       750.00
                                Rebuttal Reports
12/5/2021 McHenry, Gina         Report Preparation Including   QC Allocation Exhibits                                  2.3     395.00       908.50
                                Rebuttal Reports
12/5/2021 DeLarm, Carolyn       Report Preparation Including   Upload report files and data and documents              0.8     290.00       232.00
                                Rebuttal Reports               considered to Sharefile.
12/5/2021 DeLarm, Carolyn       Report Preparation Including   Final read and QC of report.                            3.8     290.00      1,102.00
                                Rebuttal Reports
12/5/2021 DeLarm, Carolyn       Report Preparation Including   Final read and QC of report.                            3.9     290.00      1,131.00
                                Rebuttal Reports
12/5/2021 McHenry, Gina         Report Preparation Including   Finalize Report                                         3.7     395.00      1,461.50
                                Rebuttal Reports
  Date      Employee Name             Task Category                              Description                    Hours         Rate       Amount
12/5/2021 Nicholson, Brent    Insurance Coverage Analysis       Analyze insurance coverage allocations.                 1.7     495.00       841.50
12/5/2021 Nicholson, Brent    Insurance Coverage Analysis       Internal correspondence with Gina relating to           0.2     495.00        99.00
                                                                insurance coverage and allocations.

12/5/2021 Woloszyk, Evan      Comparable Matters                Comp Exhibit preparation                                1.4     265.00       371.00
                              Research/Analysis
12/5/2021 Trilla, Barry       Comparable Matters                Settlement comp SOL analysis and updates                1.2     395.00       474.00
                              Research/Analysis
12/5/2021 Tecce, Brendan      Survivor Projection               Review Survivor Estimation Numbers                      0.4     305.00       122.00
12/6/2021 Tecce, Brendan      Other Expert Reports - Analysis   Prepare analysis of Bates White Expert                  1.1     305.00       335.50
                              for Rebuttal / Deposition         Report's Appendix D

12/6/2021 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White and Other Expert                     2.7     305.00       823.50
                              for Rebuttal / Deposition       Reports

12/6/2021 McNally, Katheryn   Other Expert Reports - Analysis review Bates White Estimation report                      3.2     625.00      2,000.00
                              for Rebuttal / Deposition

12/7/2021 Smith, Hannah       Other Expert Reports - Analysis KCIC Insurance Allocation Report Analysis                 4.0     265.00      1,060.00
                              for Rebuttal / Deposition

12/7/2021 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White and Other Expert                     4.0     305.00      1,220.00
                              for Rebuttal / Deposition       Reports

12/7/2021 Young, Andrew       Other Expert Reports - Analysis Call #2 with Gina re: Bates White Report                  0.5     305.00       152.50
                              for Rebuttal / Deposition

12/7/2021 Young, Andrew       Other Expert Reports - Analysis Call #1 with Gina re: Bates White Report                  0.5     305.00       152.50
                              for Rebuttal / Deposition

12/7/2021 Raiff, Matthew      Other Expert Reports - Analysis Review BW and Claro's reports                             2.0     625.00      1,250.00
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis Review Averill report                                     0.5     625.00       312.50
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis review Treacy Report                                      0.6     625.00       375.00
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis review Scarcella report                                   1.1     625.00       687.50
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis Review Whittman Report                                    0.5     625.00       312.50
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis initial sweep review of BW production files               0.8     625.00       500.00
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis develop rebuttal framework for BW                         2.9     625.00      1,812.50
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis review Burnett Report                                     1.0     625.00       625.00
                              for Rebuttal / Deposition

12/7/2021 McNally, Katheryn   Other Expert Reports - Analysis review of Btecce summary of comparison of                 0.5     625.00       312.50
                              for Rebuttal / Deposition       BW survivor population analysis to Claro's

12/7/2021 Smith, Hannah       Other Expert Reports - Analysis Continue to work on KCIC Insurance                        4.0     265.00      1,060.00
                              for Rebuttal / Deposition       Allocation Report Analysis

12/7/2021 McHenry, Gina       Other Expert Reports - Analysis Call #2 with Andrew re: Bates White Report                0.5     395.00       197.50
                              for Rebuttal / Deposition

12/7/2021 Smith, Hannah       Other Expert Reports - Analysis Continue to work on KCIC Insurance                        1.7     265.00       450.50
                              for Rebuttal / Deposition       Allocation Report Analysis
  Date     Employee Name              Task Category                          Description                    Hours         Rate       Amount
12/7/2021 McHenry, Gina       Other Expert Reports - Analysis Call #1 with Andrew re: Bates White Report            0.5     395.00       197.50
                              for Rebuttal / Deposition

12/7/2021 McHenry, Gina       Other Expert Reports - Analysis Analyze Bates White exhibits.                         1.3     395.00       513.50
                              for Rebuttal / Deposition

12/7/2021 McHenry, Gina       Other Expert Reports - Analysis Read and Annotate Charles Bates Expert                2.9     395.00      1,145.50
                              for Rebuttal / Deposition       Report and exhibits.

12/7/2021 McHenry, Gina       Other Expert Reports - Analysis Analyze serial accuser work steps.                    1.1     395.00       434.50
                              for Rebuttal / Deposition

12/7/2021 Young, Andrew       Report Preparation Including    Prepared visuals for rebuttal Presentation            2.2     305.00       671.00
                              Rebuttal Reports
12/7/2021 Trilla, Barry       Other Expert Reports - Analysis Bates estimation report analysis                      3.4     395.00      1,343.00
                              for Rebuttal / Deposition

12/7/2021 Woloszyk, Evan      Other Expert Reports - Analysis Opposition Expert Report Review                       1.4     265.00       371.00
                              for Rebuttal / Deposition

12/7/2021 Harriman, Allison   Other Expert Reports - Analysis Review of Expert report of Makeda Murray              4.0     395.00      1,580.00
                              for Rebuttal / Deposition       and draft potential rebuttal responses

12/7/2021 Burke, Evan         Other Expert Reports - Analysis KCIC Exhibit review                                   0.3     290.00        87.00
                              for Rebuttal / Deposition

12/7/2021 Nicholson, Brent    Other Expert Reports - Analysis Review of the Gutzler coverage and                    1.5     495.00       742.50
                              for Rebuttal / Deposition       allocation expert report.

12/8/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -           3.8     265.00      1,007.00
                              for Rebuttal / Deposition       reviewing Bates White comparable
                                                              settlements for Claro analysis
12/8/2021 McNally, Katheryn   Other Expert Reports - Analysis analysis of historical BSA settlement data            0.5     625.00       312.50
                              for Rebuttal / Deposition       used by BW

12/8/2021 McNally, Katheryn   Other Expert Reports - Analysis Review Murray report                                  1.0     625.00       625.00
                              for Rebuttal / Deposition

12/8/2021 Raiff, Matthew      Other Expert Reports - Analysis Call with GMcHenry re: Bates White Report             1.1     625.00       687.50
                              for Rebuttal / Deposition       Analysis

12/8/2021 Raiff, Matthew      Other Expert Reports - Analysis Review BW and Claro's reports                         0.9     625.00       562.50
                              for Rebuttal / Deposition

12/8/2021 DeLarm, Carolyn     Other Expert Reports - Analysis Review BW files and create index with                 2.4     290.00       696.00
                              for Rebuttal / Deposition       descriptions.

12/8/2021 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White and Other Expert                 3.8     305.00      1,159.00
                              for Rebuttal / Deposition       Reports

12/8/2021 Martisauski, Brad   Other Expert Reports - Analysis Call with AYoung, Btrilla, Ewoloszyk,                 0.5     265.00       132.50
                              for Rebuttal / Deposition       KMcNally, and GMcHenry (partial
                                                              participation by Gina) to discuss potential
                                                              comps per BW report
12/8/2021 Schoenfeld, Erika   Other Expert Reports - Analysis Bates Report comments and citation notes              4.0     305.00      1,220.00
                              for Rebuttal / Deposition       for rebuttal

12/8/2021 McNally, Katheryn   Other Expert Reports - Analysis Locate/download various expert late                   0.3     625.00       187.50
                              for Rebuttal / Deposition       productions

12/8/2021 Trilla, Barry       Other Expert Reports - Analysis Bates estimation report analysis                      2.3     395.00       908.50
                              for Rebuttal / Deposition

12/8/2021 Young, Andrew       Other Expert Reports - Analysis Call with Bmartisauski, Btrilla, Ewoloszyk,           0.5     305.00       152.50
                              for Rebuttal / Deposition       KMcNally, and GMcHenry (partial
                                                              participation by Gina) to discuss potential
                                                              comps per BW report
  Date      Employee Name             Task Category                          Description                      Hours         Rate       Amount
12/8/2021 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White and Other Expert                   1.1     305.00       335.50
                              for Rebuttal / Deposition       Reports

12/8/2021 McNally, Katheryn   Other Expert Reports - Analysis review team notes on Murray report and                  0.5     625.00       312.50
                              for Rebuttal / Deposition       potential rebuttal topics

12/8/2021 Trilla, Barry       Other Expert Reports - Analysis Bates report data analysis and comparison               2.6     395.00      1,027.00
                              for Rebuttal / Deposition

12/8/2021 McNally, Katheryn   Other Expert Reports - Analysis Review Gutzler report                                   2.2     625.00      1,375.00
                              for Rebuttal / Deposition

12/8/2021 DeLarm, Carolyn     Other Expert Reports - Analysis BW and Claro settlement data comparison.                1.8     290.00       522.00
                              for Rebuttal / Deposition

12/8/2021 McNally, Katheryn   Other Expert Reports - Analysis Call with Bmartisauski, Btrilla, Ewoloszyk,             0.5     625.00       312.50
                              for Rebuttal / Deposition       Ayoung, and GMcHenry (partial
                                                              participation by Gina) to discuss potential
                                                              comps per BW report
12/8/2021 McHenry, Gina       Other Expert Reports - Analysis Review Hsmith's insurance comparison.                   1.5     395.00       592.50
                              for Rebuttal / Deposition

12/8/2021 McHenry, Gina       Other Expert Reports - Analysis Read and Annotate Nancy Gutzler Expert                  2.3     395.00       908.50
                              for Rebuttal / Deposition       Report and exhibits.

12/8/2021 McHenry, Gina       Other Expert Reports - Analysis Partial participation of call with                      0.2     395.00        79.00
                              for Rebuttal / Deposition       Bmartisauski, Btrilla, Ewoloszyk, Ayoung,
                                                              and KMcNally to discuss potential comps
                                                              per BW report
12/8/2021 McHenry, Gina       Other Expert Reports - Analysis Call with MRaiff re: Bates White Report                 1.1     395.00       434.50
                              for Rebuttal / Deposition       Analysis

12/8/2021 Trilla, Barry       Other Expert Reports - Analysis Call with Bmartisauski, Ayoung, Ewoloszyk,              0.5     395.00       197.50
                              for Rebuttal / Deposition       KMcNally, and GMcHenry (partial
                                                              participation by Gina) to discuss potential
                                                              comps per BW report
12/8/2021 Woloszyk, Evan      Other Expert Reports - Analysis Opposition Settlement Comp Analysis                     1.8     265.00       477.00
                              for Rebuttal / Deposition

12/8/2021 Woloszyk, Evan      Other Expert Reports - Analysis Call with Bmartisauski, Ayoung, Btrilla,                0.5     265.00       132.50
                              for Rebuttal / Deposition       KMcNally, and GMcHenry (partial
                                                              participation by Gina) to discuss potential
                                                              comps per BW report
12/8/2021 Harriman, Allison   Other Expert Reports - Analysis Makeda Murray rebuttal                                  1.5     395.00       592.50
                              for Rebuttal / Deposition

12/8/2021 Harriman, Allison   Other Expert Reports - Analysis Review of Charlie Bates report                          3.0     395.00      1,185.00
                              for Rebuttal / Deposition

12/8/2021 Nguyen, Hung        Other Expert Reports - Analysis Assist with data extraction of opposing party           1.0     350.00       350.00
                              for Rebuttal / Deposition       production; generate index of opposing
                                                              party data; QC data for completeness.

12/8/2021 Nicholson, Brent    Other Expert Reports - Analysis Review of the Gutzler coverage and                      1.6     495.00       792.00
                              for Rebuttal / Deposition       allocation expert report.

12/8/2021 McNally, Katheryn   Other Expert Reports - Analysis Review BW valuation model                               0.3     625.00       187.50
                              for Rebuttal / Deposition

12/9/2021 McNally, Katheryn   Report Preparation Including      Draft rebuttal report to BW                           1.9     625.00      1,187.50
                              Rebuttal Reports
12/9/2021 Young, Andrew       Report Preparation Including      Reviewed BW claim Valuation; Prepared                 2.1     305.00       640.50
                              Rebuttal Reports                  visuals for rebuttal Presentation
12/9/2021 Martisauski, Brad   Other Expert Reports - Analysis   Comparable settlement analysis (Rebuttal) -           2.9     265.00       768.50
                              for Rebuttal / Deposition         reviewing Bates White comparable
                                                                settlements for Claro analysis
   Date      Employee Name             Task Category                         Description                       Hours         Rate       Amount
 12/9/2021 DeLarm, Carolyn     Other Expert Reports - Analysis Review BW files and create index with                   1.3     290.00       377.00
                               for Rebuttal / Deposition       descriptions.

 12/9/2021 McHenry, Gina       Other Expert Reports - Analysis Continue annotation of Gutzler report.                  1.1     395.00       434.50
                               for Rebuttal / Deposition

 12/9/2021 Raiff, Matthew      Other Expert Reports - Analysis Review BW and Claro's reports                           2.0     625.00      1,250.00
                               for Rebuttal / Deposition

 12/9/2021 McNally, Katheryn   Other Expert Reports - Analysis analysis of historical BSA settlement data              0.9     625.00       562.50
                               for Rebuttal / Deposition       used by BW

 12/9/2021 McNally, Katheryn   Other Expert Reports - Analysis Analysis of Potential Outside Comparables               1.0     625.00       625.00
                               for Rebuttal / Deposition

 12/9/2021 Woloszyk, Evan      Other Expert Reports - Analysis Settlement Comp Analysis                                0.8     265.00       212.00
                               for Rebuttal / Deposition

12/10/2021 McNally, Katheryn   Other Expert Reports - Analysis Call with T Flanagan and A. Kornfeld to                 0.8     625.00       500.00
                               for Rebuttal / Deposition       discuss reports issued by Debtors and
                                                               Insurers and determine which to rebut
12/10/2021 Young, Andrew       Other Expert Reports - Analysis BW Claim Valuation scenario analysis for                1.5     305.00       457.50
                               for Rebuttal / Deposition       Rebuttal Report

12/10/2021 Young, Andrew       Report Preparation Including      Reviewed BW claim Valuation; Prepared                 3.7     305.00      1,128.50
                               Rebuttal Reports                  visuals for rebuttal Presentation
12/10/2021 Martisauski, Brad   Other Expert Reports - Analysis   Comparable settlement analysis (Rebuttal) -           2.4     265.00       636.00
                               for Rebuttal / Deposition         continued reviewing Bates White
                                                                 comparable settlements for Claro analysis

12/10/2021 DeLarm, Carolyn     Other Expert Reports - Analysis BW and Claro settlement data comparison.                2.3     290.00       667.00
                               for Rebuttal / Deposition

12/10/2021 Raiff, Matthew      Other Expert Reports - Analysis Call with GMcHenry and KMcNally to                      0.9     625.00       562.50
                               for Rebuttal / Deposition       discuss Bates White report and potential
                                                               rebuttal topics
12/10/2021 Raiff, Matthew      Other Expert Reports - Analysis Review BW and Claro's reports                           1.1     625.00       687.50
                               for Rebuttal / Deposition

12/10/2021 McNally, Katheryn   Other Expert Reports - Analysis Call with GMcHenry and Mraiff to discuss                0.9     625.00       562.50
                               for Rebuttal / Deposition       Bates White report and potential rebuttal
                                                               topics
12/10/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -             3.9     265.00      1,033.50
                               for Rebuttal / Deposition       reviewing Bates White comparable
                                                               settlements for Claro analysis
12/10/2021 McNally, Katheryn   Other Expert Reports - Analysis Analysis of Potential Outside Comparables               0.7     625.00       437.50
                               for Rebuttal / Deposition

12/10/2021 McNally, Katheryn   Other Expert Reports - Analysis analysis of difference between T6 Database              0.5     625.00       312.50
                               for Rebuttal / Deposition       and BW data used for report

12/10/2021 McNally, Katheryn   Other Expert Reports - Analysis analysis of historical BSA settlement data              1.2     625.00       750.00
                               for Rebuttal / Deposition       used by BW

12/10/2021 McNally, Katheryn   Other Expert Reports - Analysis develop scenarios for Bates White claim                 0.7     625.00       437.50
                               for Rebuttal / Deposition       adjustments

12/10/2021 Nicholson, Brent    Other Expert Reports - Analysis Review of the Gutzler coverage and                      0.6     495.00       297.00
                               for Rebuttal / Deposition       allocation expert report.

12/10/2021 McHenry, Gina       Other Expert Reports - Analysis Call with KMcNally and Mraiff to discuss                0.9     395.00       355.50
                               for Rebuttal / Deposition       Bates White report and potential rebuttal
                                                               topics
12/10/2021 Trilla, Barry       Other Expert Reports - Analysis Bates estimation report data comparison                 1.4     395.00       553.00
                               for Rebuttal / Deposition       analysis and QC
   Date      Employee Name               Task Category                           Description                    Hours         Rate       Amount
12/10/2021 Boswell, Anne         Other Expert Reports - Analysis comparing the settlement comps used by                 1.8     305.00       549.00
           Margaret              for Rebuttal / Deposition       Bates White in their report to those used by
                                                                 Claro
12/11/2021 Raiff, Matthew        Other Expert Reports - Analysis Review BW and Claro's reports                          1.0     625.00       625.00
                                 for Rebuttal / Deposition

12/11/2021 Young, Andrew         Other Expert Reports - Analysis BW Claim Valuation scenario analysis for               1.2     305.00       366.00
                                 for Rebuttal / Deposition       Rebuttal Report

12/12/2021 Trilla, Barry         Other Expert Reports - Analysis Bates estimation report SOL data                       1.3     395.00       513.50
                                 for Rebuttal / Deposition       comparison analysis

12/12/2021 McNally, Katheryn     Report Preparation Including    draft Bates White rebuttal                             3.8     625.00      2,375.00
                                 Rebuttal Reports
12/13/2021 Trilla, Barry         Other Expert Reports - Analysis Bates estimation report reference data                 1.3     395.00       513.50
                                 for Rebuttal / Deposition       analysis

12/13/2021 Cadarette Jr., John   Other Expert Reports - Analysis review Bates White report                              1.2     675.00       810.00
                                 for Rebuttal / Deposition

12/13/2021 Martisauski, Brad     Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -            3.4     265.00       901.00
                                 for Rebuttal / Deposition       reviewing Bates White potential outside
                                                                 comparables for Claro analysis

12/13/2021 Harriman, Allison     Other Expert Reports - Analysis Review of Charles Bates report and notes on            4.0     395.00      1,580.00
                                 for Rebuttal / Deposition       rebuttal

12/13/2021 Harriman, Allison     Report Preparation Including    Call with A. Young and K. McNally re:                  1.0     395.00       395.00
                                 Rebuttal Reports                Rebuttal presentation drafting; Bates White
                                                                 report
12/13/2021 Young, Andrew         Other Expert Reports - Analysis Rebuttal valuation scenario analysis                   3.2     305.00       976.00
                                 for Rebuttal / Deposition

12/13/2021 Young, Andrew         Other Expert Reports - Analysis Multiple accuser analysis for valuation                1.3     305.00       396.50
                                 for Rebuttal / Deposition

12/13/2021 Young, Andrew         Other Expert Reports - Analysis Reviewed BW report for rebuttal                        2.7     305.00       823.50
                                 for Rebuttal / Deposition

12/13/2021 Young, Andrew         Report Preparation Including    Call with A. Harriman and K. McNally re:               1.0     305.00       305.00
                                 Rebuttal Reports                Rebuttal presentation drafting; Bates White
                                                                 report
12/13/2021 McNally, Katheryn     Other Expert Reports - Analysis Internal correspondence with Bmartisauski              0.6     625.00       375.00
                                 for Rebuttal / Deposition       to discuss settlement comps

12/13/2021 Raiff, Matthew        Other Expert Reports - Analysis Assist in development of Bates Rebuttal                2.0     625.00      1,250.00
                                 for Rebuttal / Deposition       themes

12/13/2021 McNally, Katheryn     Other Expert Reports - Analysis Call with T. Flanagan and A. Kornfeld (AK              1.8     625.00      1,125.00
                                 for Rebuttal / Deposition       partial participation)

12/13/2021 McNally, Katheryn     Report Preparation Including    Call with A. Young and A. Harriman re:                 1.0     625.00       625.00
                                 Rebuttal Reports                Rebuttal presentation drafting; Bates White
                                                                 report
12/13/2021 McNally, Katheryn     Other Expert Reports - Analysis review bates white report and supporting               3.2     625.00      2,000.00
                                 for Rebuttal / Deposition       analysis

12/13/2021 Woloszyk, Evan        Other Expert Reports - Analysis Settlement Comp Analysis                               1.2     265.00       318.00
                                 for Rebuttal / Deposition

12/13/2021 Trilla, Barry         Other Expert Reports - Analysis Bates estimation report SOL data analysis              0.7     395.00       276.50
                                 for Rebuttal / Deposition       and update

12/13/2021 Boswell, Anne         Other Expert Reports - Analysis SOL Comp Research                                      3.5     305.00      1,067.50
           Margaret              for Rebuttal / Deposition
   Date      Employee Name               Task Category                            Description                   Hours         Rate       Amount
12/13/2021 Boswell, Anne         Other Expert Reports - Analysis Internal correspondence with Brad to discuss           0.5     305.00       152.50
           Margaret              for Rebuttal / Deposition       SOL comp research

12/13/2021 McNally, Katheryn     Other Expert Reports - Analysis claim detail request from Jlucas                       0.2     625.00       125.00
                                 for Rebuttal / Deposition

12/13/2021 McNally, Katheryn     Other Expert Reports - Analysis Call with John Lucas re: SOL on Ogletree               0.2     625.00       125.00
                                 for Rebuttal / Deposition       file

12/14/2021 Martisauski, Brad     Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -            2.6     265.00       689.00
                                 for Rebuttal / Deposition       reviewing Bates White potential outside
                                                                 comparables for Claro analysis

12/14/2021 Young, Andrew         Other Expert Reports - Analysis Adjustments to Claro valuation for rebuttal            2.4     305.00       732.00
                                 for Rebuttal / Deposition

12/14/2021 Harriman, Allison     Other Expert Reports - Analysis Murray rebuttal data analysis and                      3.0     395.00      1,185.00
                                 for Rebuttal / Deposition       comparison to database validation testing

12/14/2021 Harriman, Allison     Other Expert Reports - Analysis Meeting with K. McNally and A. Young re:               0.9     395.00       355.50
                                 for Rebuttal / Deposition       Bates rebuttal comments and BW report data

12/14/2021 Young, Andrew         Other Expert Reports - Analysis Reviewed BW report for rebuttal                        1.5     305.00       457.50
                                 for Rebuttal / Deposition

12/14/2021 McNally, Katheryn     Report Preparation Including    develop rebuttal points (Bates White)                  3.2     625.00      2,000.00
                                 Rebuttal Reports
12/14/2021 McNally, Katheryn     Report Preparation Including    draft rebuttal report (Bates White)                    2.7     625.00      1,687.50
                                 Rebuttal Reports
12/14/2021 Cadarette Jr., John   Other Expert Reports - Analysis internal analysis for rebuttal                         0.2     675.00       135.00
                                 for Rebuttal / Deposition

12/14/2021 Cadarette Jr., John   Other Expert Reports - Analysis call with KMcNally to discuss Chubb                    0.4     675.00       270.00
                                 for Rebuttal / Deposition       settlement

12/14/2021 Cadarette Jr., John   Other Expert Reports - Analysis review notes re KCIC report                            0.4     675.00       270.00
                                 for Rebuttal / Deposition

12/14/2021 Cadarette Jr., John   Other Expert Reports - Analysis review KCIC report                                     1.0     675.00       675.00
                                 for Rebuttal / Deposition

12/14/2021 Smith, Hannah         Report Preparation Including    Drafting Revised Report related                        1.5     265.00       397.50
                                 Rebuttal Reports                exhibits/Supplemental Report
12/14/2021 Young, Andrew         Other Expert Reports - Analysis Adjustments to Claro valuation for rebuttal            4.0     305.00      1,220.00
                                 for Rebuttal / Deposition

12/14/2021 Harriman, Allison     Other Expert Reports - Analysis Review and analysis of updated BW                      3.0     395.00      1,185.00
                                 for Rebuttal / Deposition       valuation scenarios; review comps data

12/14/2021 Young, Andrew         Other Expert Reports - Analysis Meeting with K. McNally and A. Harriman                0.9     305.00       274.50
                                 for Rebuttal / Deposition       re: Bates rebuttal comments and BW report
                                                                 data
12/14/2021 McHenry, Gina         Other Expert Reports - Analysis Chubb/Century/INA Supplemental                         2.9     395.00      1,145.50
                                 for Rebuttal / Deposition       Allocation Analysis

12/14/2021 Schoenfeld, Erika     Other Expert Reports - Analysis Review of age discrepancies on POC forms -             2.5     305.00       762.50
                                 for Rebuttal / Deposition       over/under 18 for rebuttal purposes

12/14/2021 McNally, Katheryn     Other Expert Reports - Analysis call with Jcadarette to discuss Chubb                  0.4     625.00       250.00
                                 for Rebuttal / Deposition       settlement

12/14/2021 McNally, Katheryn     Report Preparation Including    coordinate with team re: supplemental report           0.1     625.00        62.50
                                 Rebuttal Reports
12/14/2021 Nicholson, Brent      Other Expert Reports - Analysis Review of the new Chubb settlement                     1.4     495.00       693.00
                                 for Rebuttal / Deposition       agreement proposal.
   Date     Employee Name                Task Category                            Description                  Hours         Rate       Amount
12/14/2021 McNally, Katheryn     Other Expert Reports - Analysis call with alan and tavi to discuss chubb              0.5     625.00       312.50
                                 for Rebuttal / Deposition

12/14/2021 McHenry, Gina         Other Expert Reports - Analysis Analyze Chubb Term Sheet                              0.8     395.00       316.00
                                 for Rebuttal / Deposition

12/14/2021 McNally, Katheryn     Other Expert Reports - Analysis Meeting with A. Harriman and A. Young re:             0.9     625.00       562.50
                                 for Rebuttal / Deposition       Bates rebuttal comments and BW report data

12/14/2021 McHenry, Gina         Fee Application                 Worked on Fee App                                     1.2     395.00       474.00
12/14/2021 McNally, Katheryn     Other Expert Reports - Analysis analyze Bates White valuation model                   1.2     625.00       750.00
                                 for Rebuttal / Deposition

12/14/2021 Raiff, Matthew        Other Expert Reports - Analysis Assist in development of Bates Rebuttal               2.0     625.00      1,250.00
                                 for Rebuttal / Deposition       themes

12/15/2021 Harriman, Allison     Report Preparation Including    Formatting of attachments to provide native           0.7     395.00       276.50
                                 Rebuttal Reports                format
12/15/2021 McNally, Katheryn     Other Expert Reports - Analysis review Bates White production                         1.6     625.00      1,000.00
                                 for Rebuttal / Deposition

12/15/2021 McNally, Katheryn     Report Preparation Including    native format production per Debtor request           1.8     625.00      1,125.00
                                 Rebuttal Reports
12/15/2021 McNally, Katheryn     Report Preparation Including    production request from Bates White                   0.4     625.00       250.00
                                 Rebuttal Reports
12/15/2021 McNally, Katheryn     Other Expert Reports - Analysis review Bates White comps                              0.6     625.00       375.00
                                 for Rebuttal / Deposition

12/15/2021 Cadarette Jr., John   Other Expert Reports - Analysis Call with I. Nasatir, T. Flanagan, A.                 0.7     675.00       472.50
                                 for Rebuttal / Deposition       Kornfeld, K. McNally re: chubb
                                                                 allocations/KCIC rebuttal
12/15/2021 Trilla, Barry         Other Expert Reports - Analysis Internal correspondence with Evan re: SOL             0.6     395.00       237.00
                                 for Rebuttal / Deposition       analysis

12/15/2021 Smith, Hannah         Report Preparation Including      Continue Drafting Revised Report related            4.0     265.00      1,060.00
                                 Rebuttal Reports                  exhibits/Supplemental Report
12/15/2021 Smith, Hannah         Report Preparation Including      Drafting Revised Report related                     4.0     265.00      1,060.00
                                 Rebuttal Reports                  exhibits/Supplemental Report
12/15/2021 Smith, Hannah         Other Expert Reports - Analysis   call with KMcNally and Gmchenry re:                 0.4     265.00       106.00
                                 for Rebuttal / Deposition         Chubb allocations

12/15/2021 Smith, Hannah         Report Preparation Including      Drafting Revised Report related                     0.3     265.00        79.50
                                 Rebuttal Reports                  exhibits/Supplemental Report`
12/15/2021 Trilla, Barry         Other Expert Reports - Analysis   Bates estimation report SOL analysis and            1.4     395.00       553.00
                                 for Rebuttal / Deposition         updates

12/15/2021 Martisauski, Brad     Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -           2.8     265.00       742.00
                                 for Rebuttal / Deposition       reviewing Bates White potential outside
                                                                 comparables for Claro analysis

12/15/2021 McNally, Katheryn     Report Preparation Including    Call with T. Flanagan re: production issues           0.3     625.00       187.50
                                 Rebuttal Reports
12/15/2021 Trilla, Barry         Report Preparation Including    Native exhibits analysis                              1.1     395.00       434.50
                                 Rebuttal Reports
12/15/2021 Harriman, Allison     Other Expert Reports - Analysis BW valuation data comparison analysis                 2.1     395.00       829.50
                                 for Rebuttal / Deposition

12/15/2021 McHenry, Gina         Report Preparation Including    QC Supplemental Report exhibits                       1.4     395.00       553.00
                                 Rebuttal Reports
12/15/2021 Trilla, Barry         Other Expert Reports - Analysis Internal correspondence with Evan re: Bates           0.4     395.00       158.00
                                 for Rebuttal / Deposition       White SOL analysis

12/15/2021 Woloszyk, Evan        Other Expert Reports - Analysis settlement comp analysis                              2.1     265.00       556.50
                                 for Rebuttal / Deposition

12/15/2021 McNally, Katheryn     Other Expert Reports - Analysis Call with I. Nasatir, T. Flanagan, A.                 0.7     625.00       437.50
                                 for Rebuttal / Deposition       Kornfeld, J. Cadarette re: chubb
                                                                 allocations/KCIC rebuttal
   Date     Employee Name              Task Category                           Description                     Hours         Rate       Amount
12/15/2021 McNally, Katheryn   Other Expert Reports - Analysis call with Hsmith and Gmchenry re: Chubb                 0.4     625.00       250.00
                               for Rebuttal / Deposition       allocations

12/15/2021 McHenry, Gina       Other Expert Reports - Analysis call with Hsmith and KMcNally re: Chubb                 0.4     395.00       158.00
                               for Rebuttal / Deposition       allocations

12/15/2021 Woloszyk, Evan      Other Expert Reports - Analysis Verdict Comp Analysis                                   4.0     265.00      1,060.00
                               for Rebuttal / Deposition

12/15/2021 McHenry, Gina       Other Expert Reports - Analysis Email to Committee Counsel about                        0.9     395.00       355.50
                               for Rebuttal / Deposition       Chubb/Century Term Sheet and Carrier
                                                               listings
12/15/2021 McHenry, Gina       Report Preparation Including    Updated Supplemental report.                            1.1     395.00       434.50
                               Rebuttal Reports
12/15/2021 Raiff, Matthew      Other Expert Reports - Analysis Assist in development of Bates Rebuttal                 2.0     625.00      1,250.00
                               for Rebuttal / Deposition       themes

12/15/2021 Harriman, Allison   Other Expert Reports - Analysis Murray rebuttal data analysis                           1.8     395.00       711.00
                               for Rebuttal / Deposition

12/15/2021 Young, Andrew       Report Preparation Including    Prepared detailed Claro valuation exhibit for           3.7     305.00      1,128.50
                               Rebuttal Reports                production
12/15/2021 Young, Andrew       Other Expert Reports - Analysis Adjustments to Claro valuation for rebuttal             1.7     305.00       518.50
                               for Rebuttal / Deposition

12/15/2021 Tecce, Brendan      Other Expert Reports - Analysis Rebuttal research of survivor estimate                  0.6     305.00       183.00
                               for Rebuttal / Deposition

12/16/2021 Harriman, Allison   Report Preparation Including    Call with KMcNally and Ayoung re: rebuttal              0.6     395.00       237.00
                               Rebuttal Reports                points to Bates White
12/16/2021 Trilla, Barry       Other Expert Reports - Analysis Bates White SOL data analysis                           0.8     395.00       316.00
                               for Rebuttal / Deposition

12/16/2021 Smith, Hannah       Report Preparation Including      Drafting Revised Report related                       0.5     265.00       132.50
                               Rebuttal Reports                  exhibits/Supplemental Report
12/16/2021 McNally, Katheryn   Report Preparation Including      Call with Aharriman and Ayoung re: rebuttal           0.6     625.00       375.00
                               Rebuttal Reports                  points to Bates White
12/16/2021 McNally, Katheryn   Other Expert Reports - Analysis   review analysis of Bates White Comps                  0.3     625.00       187.50
                               for Rebuttal / Deposition

12/16/2021 McNally, Katheryn   Other Expert Reports - Analysis Call with A. Young, A. Harriman, and B.                 0.4     625.00       250.00
                               for Rebuttal / Deposition       Martisauski re: rebuttal valuation and comps

12/16/2021 McNally, Katheryn   Report Preparation Including    document production per Debtor request                  0.5     625.00       312.50
                               Rebuttal Reports
12/16/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -             2.9     265.00       768.50
                               for Rebuttal / Deposition       reviewing Bates White potential outside
                                                               comparables for Claro analysis

12/16/2021 Martisauski, Brad   Other Expert Reports - Analysis Call with A. Young, K. McNally, and A.                  0.4     265.00       106.00
                               for Rebuttal / Deposition       Harriman re: rebuttal valuation and comps

12/16/2021 Harriman, Allison   Other Expert Reports - Analysis Call with A. Young, K. McNally, and B.                  0.4     395.00       158.00
                               for Rebuttal / Deposition       Martisauski re: rebuttal valuation and comps

12/16/2021 McNally, Katheryn   Report Preparation Including    draft Bates White rebuttal                              3.6     625.00      2,250.00
                               Rebuttal Reports
12/16/2021 Harriman, Allison   Other Expert Reports - Analysis Review of Charles Bates report and                      0.9     395.00       355.50
                               for Rebuttal / Deposition       presentation for rebuttal

12/16/2021 Harriman, Allison   Other Expert Reports - Analysis Murray rebuttal data analysis                           2.0     395.00       790.00
                               for Rebuttal / Deposition

12/16/2021 McHenry, Gina       Other Expert Reports - Analysis Analyze allocations to Local Council                    0.8     395.00       316.00
                               for Rebuttal / Deposition       policies
   Date      Employee Name             Task Category                            Description                       Hours         Rate       Amount
12/16/2021 Young, Andrew       Other Expert Reports - Analysis Call with A. Harriman, K. McNally, and B.                  0.4     305.00       122.00
                               for Rebuttal / Deposition       Martisauski re: rebuttal valuation and comps

12/16/2021 Boswell, Anne       Other Expert Reports - Analysis Comparable Settlement Analysis                             1.2     305.00       366.00
           Margaret            for Rebuttal / Deposition

12/16/2021 Trilla, Barry       Other Expert Reports - Analysis Internal correspondence with Evan re: Bates                0.6     395.00       237.00
                               for Rebuttal / Deposition       White SOL analysis

12/16/2021 Nicholson, Brent    Other Expert Reports - Analysis Review of Executive Summary in response                    0.8     495.00       396.00
                               for Rebuttal / Deposition       to proposed Chubb settlement.

12/16/2021 Woloszyk, Evan      Other Expert Reports - Analysis Settlement Comp Analysis                                   1.4     265.00       371.00
                               for Rebuttal / Deposition

12/16/2021 Raiff, Matthew      Other Expert Reports - Analysis Assist in development of Bates Rebuttal                    2.0     625.00      1,250.00
                               for Rebuttal / Deposition       themes

12/16/2021 Schoenfeld, Erika   Other Expert Reports - Analysis Review of age discrepancies on POC forms -                 0.5     305.00       152.50
                               for Rebuttal / Deposition       over/under 18 for rebuttal purposes

12/16/2021 Young, Andrew       Other Expert Reports - Analysis Call with Aharriman and KMcNally re:                       0.6     305.00       183.00
                               for Rebuttal / Deposition       rebuttal points to Bates White

12/16/2021 Young, Andrew       Other Expert Reports - Analysis Reviewed BW produced documents for                         1.3     305.00       396.50
                               for Rebuttal / Deposition       rebuttal

12/16/2021 Young, Andrew       Report Preparation Including    Rebuttal presentation review and updates                   3.8     305.00      1,159.00
                               Rebuttal Reports
12/17/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -                2.6     265.00       689.00
                               for Rebuttal / Deposition       continued reviewing Bates White potential
                                                               outside comparables for Claro analysis

12/17/2021 Young, Andrew       Other Expert Reports - Analysis Adjustments to Claro valuation for rebuttal                2.4     305.00       732.00
                               for Rebuttal / Deposition

12/17/2021 Young, Andrew       Report Preparation Including      Rebuttal presentation review and updates                 1.9     305.00       579.50
                               Rebuttal Reports
12/17/2021 McHenry, Gina       Report Preparation Including      Supplemental presentation updates                        1.7     395.00       671.50
                               Rebuttal Reports
12/17/2021 McHenry, Gina       Report Preparation Including      KCIC Rebuttal presentation updates                       2.8     395.00      1,106.00
                               Rebuttal Reports
12/17/2021 Harriman, Allison   Report Preparation Including      Murray rebuttal bullet point drafting and data           3.3     395.00      1,303.50
                               Rebuttal Reports                  analysis
12/17/2021 Harriman, Allison   Other Expert Reports - Analysis   Review of Charles Bates report and                       2.1     395.00       829.50
                               for Rebuttal / Deposition         presentation for rebuttal

12/17/2021 Trilla, Barry       Other Expert Reports - Analysis Ogletree SOL memo and by-state summary                     1.3     395.00       513.50
                               for Rebuttal / Deposition       analysis

12/17/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -                3.9     265.00      1,033.50
                               for Rebuttal / Deposition       reviewing Bates White potential outside
                                                               comparables for Claro analysis

12/17/2021 McNally, Katheryn   Report Preparation Including    draft rebuttal to KCIC                                     2.1     625.00      1,312.50
                               Rebuttal Reports
12/17/2021 Tecce, Brendan      Other Expert Reports - Analysis Rebuttal research of survivor estimate                     0.7     305.00       213.50
                               for Rebuttal / Deposition

12/17/2021 McNally, Katheryn   Report Preparation Including    draft rebuttal to Bates White                              1.7     625.00      1,062.50
                               Rebuttal Reports
12/17/2021 Smith, Hannah       Other Expert Reports - Analysis call #1 with Katie & Gina about KCIC                       0.6     265.00       159.00
                               for Rebuttal / Deposition       rebuttal analysis

12/17/2021 Smith, Hannah       Report Preparation Including      Drafting Revised Report related                          1.0     265.00       265.00
                               Rebuttal Reports                  exhibits/Supplemental Report
   Date      Employee Name             Task Category                           Description                    Hours         Rate       Amount
12/17/2021 Trilla, Barry       Other Expert Reports - Analysis Call with Evan re: Bates White SOL analysis            0.4     395.00       158.00
                               for Rebuttal / Deposition

12/17/2021 Trilla, Barry       Other Expert Reports - Analysis Bates White settlement data differences                1.6     395.00       632.00
                               for Rebuttal / Deposition       analysis

12/17/2021 Young, Andrew       Report Preparation Including    Rebuttal presentation updates                          2.4     305.00       732.00
                               Rebuttal Reports
12/17/2021 McHenry, Gina       Other Expert Reports - Analysis call #1 with Katie & Hannah about KCIC                 0.6     395.00       237.00
                               for Rebuttal / Deposition       rebuttal analysis

12/17/2021 Raiff, Matthew      Other Expert Reports - Analysis Assist in development of Bates Rebuttal                2.0     625.00      1,250.00
                               for Rebuttal / Deposition       themes

12/17/2021 DeLarm, Carolyn     Other Expert Reports - Analysis BW Valuation scenario analysis.                        1.4     290.00       406.00
                               for Rebuttal / Deposition

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis review and analyze KCIC production                     0.7     625.00       437.50
                               for Rebuttal / Deposition

12/17/2021 Boswell, Anne       Other Expert Reports - Analysis Comparable Settlement Analysis - Analyzing             0.9     305.00       274.50
           Margaret            for Rebuttal / Deposition       SOLs

12/17/2021 Woloszyk, Evan      Other Expert Reports - Analysis Call with Barry re: Bates White SOL analysis           0.4     265.00       106.00
                               for Rebuttal / Deposition

12/17/2021 Woloszyk, Evan      Other Expert Reports - Analysis Settlement Comp Analysis                               2.7     265.00       715.50
                               for Rebuttal / Deposition

12/17/2021 McHenry, Gina       Other Expert Reports - Analysis Review Hannah's analysis of BSA                        1.1     395.00       434.50
                               for Rebuttal / Deposition       exhaustions per KCIC report

12/17/2021 McHenry, Gina       Other Expert Reports - Analysis Analyze KCIC Allocation Results exhibit                0.9     395.00       355.50
                               for Rebuttal / Deposition

12/17/2021 McHenry, Gina       Other Expert Reports - Analysis Call #2 with KMcNally to discuss KCIC                  0.4     395.00       158.00
                               for Rebuttal / Deposition       rebuttal analysis

12/17/2021 Trilla, Barry       Other Expert Reports - Analysis Call with Kmcnally to discuss Bates White              0.3     395.00       118.50
                               for Rebuttal / Deposition       historical data

12/17/2021 DeLarm, Carolyn     Other Expert Reports - Analysis Internal correspondence with AY about BW               0.2     290.00        58.00
                               for Rebuttal / Deposition       valuation scenarios.

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis Call with Btrilla to discuss Bates White               0.3     625.00       187.50
                               for Rebuttal / Deposition       historical data

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis analysis of Outside Potential Comparables              0.3     625.00       187.50
                               for Rebuttal / Deposition

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis call #1 with Gina & Hannah about KCIC                  0.6     625.00       375.00
                               for Rebuttal / Deposition       rebuttal analysis

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis Call #2 with GMcHenry to discuss KCIC                  0.4     625.00       250.00
                               for Rebuttal / Deposition       rebuttal analysis

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis Revisions to Bates White Valuation to adjust           2.4     625.00      1,500.00
                               for Rebuttal / Deposition       for errors

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis Research of Bates publications                         0.6     625.00       375.00
                               for Rebuttal / Deposition

12/17/2021 McNally, Katheryn   Other Expert Reports - Analysis comparison of SOL status between Bates                 0.8     625.00       500.00
                               for Rebuttal / Deposition       White and TCC for historical settlements

12/18/2021 McNally, Katheryn   Report Preparation Including     updates to KCIC rebuttal                              0.9     625.00       562.50
                               Rebuttal Reports
   Date     Employee Name              Task Category                           Description                       Hours         Rate       Amount
12/18/2021 McNally, Katheryn   Other Expert Reports - Analysis Analysis of Potential Outside Comparables                 1.2     625.00       750.00
                               for Rebuttal / Deposition

12/18/2021 McNally, Katheryn   Report Preparation Including      updates to Bates White rebuttal                         1.5     625.00       937.50
                               Rebuttal Reports
12/18/2021 McHenry, Gina       Report Preparation Including      KCIC Rebuttal presentation updates                      0.4     395.00       158.00
                               Rebuttal Reports
12/18/2021 Young, Andrew       Report Preparation Including      Rebuttal presentation updates                           2.2     305.00       671.00
                               Rebuttal Reports
12/19/2021 Martisauski, Brad   Other Expert Reports - Analysis   Comparable settlement analysis (Rebuttal) -             1.7     265.00       450.50
                               for Rebuttal / Deposition         reviewing Bates White potential outside
                                                                 comparables (SOL) for Claro analysis

12/19/2021 McNally, Katheryn   Report Preparation Including      call with T. Flanagan and A. Kornfeld to                1.2     625.00       750.00
                               Rebuttal Reports                  discuss rebuttal reports
12/19/2021 Young, Andrew       Report Preparation Including      Updated rebuttal report footnotes                       2.2     305.00       671.00
                               Rebuttal Reports
12/20/2021 Boswell, Anne       Other Expert Reports - Analysis   SOL - Bates White comp -research and                    3.5     305.00      1,067.50
           Margaret            for Rebuttal / Deposition         summarization

12/20/2021 Young, Andrew       Report Preparation Including      Rebuttal presentation updates                           2.6     305.00       793.00
                               Rebuttal Reports
12/20/2021 Young, Andrew       Report Preparation Including      Call with KMcNally to discuss rebuttal                  0.3     305.00        91.50
                               Rebuttal Reports                  analysis updates
12/20/2021 McNally, Katheryn   Report Preparation Including      Call with Ayoung to discuss rebuttal analysis           0.3     625.00       187.50
                               Rebuttal Reports                  updates
12/20/2021 McNally, Katheryn   Report Preparation Including      Call with Mraiff re: Bates White Estimation             1.3     625.00       812.50
                               Rebuttal Reports                  rebuttal
12/20/2021 McNally, Katheryn   Report Preparation Including      Edit rebuttal to Bates White estimation                 1.2     625.00       750.00
                               Rebuttal Reports                  report
12/20/2021 McNally, Katheryn   Report Preparation Including      Edit rebuttal to Bates White estimation                 3.4     625.00      2,125.00
                               Rebuttal Reports                  report
12/20/2021 Young, Andrew       Other Expert Reports - Analysis   Claro valuation database updates for rebuttal           2.3     305.00       701.50
                               for Rebuttal / Deposition

12/20/2021 Boswell, Anne       Fee Application                   November fee application - edits cont'd                 2.6     305.00       793.00
           Margaret
12/20/2021 Boswell, Anne       Fee Application                   November Fee application - edits                        3.5     305.00      1,067.50
           Margaret
12/20/2021 Young, Andrew       Other Expert Reports - Analysis BW Valuation Scenario analysis                            3.2     305.00       976.00
                               for Rebuttal / Deposition

12/20/2021 Harriman, Allison   Other Expert Reports - Analysis Analysis of data rebuttal, age of abuse                   3.0     395.00      1,185.00
                               for Rebuttal / Deposition       analysis, further rebuttal analysis

12/20/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -               3.6     265.00       954.00
                               for Rebuttal / Deposition       reviewing Bates White potential outside
                                                               comparables (SOL) for Claro analysis

12/20/2021 Raiff, Matthew      Other Expert Reports - Analysis Call with KMcNally re: Bates White                        1.3     625.00       812.50
                               for Rebuttal / Deposition       Estimation rebuttal

12/20/2021 Raiff, Matthew      Other Expert Reports - Analysis Correspondence to team re: Bates White                    0.2     625.00       125.00
                               for Rebuttal / Deposition       Estimation rebuttal

12/21/2021 Trilla, Barry       Other Expert Reports - Analysis Internal correspondence with Evan to discuss              0.6     395.00       237.00
                               for Rebuttal / Deposition       Bates estimation report settlement data

12/21/2021 Trilla, Barry       Other Expert Reports - Analysis Ogletree SOL memo and by-state summary                    3.2     395.00      1,264.00
                               for Rebuttal / Deposition       analysis

12/21/2021 Boswell, Anne       Report Preparation Including      Call with Bmartisauski, KMcNally to discuss             0.2     305.00        61.00
           Margaret            Rebuttal Reports                  Bates White estimation rebuttal
12/21/2021 Young, Andrew       Report Preparation Including      Call with #1 Matthew Raiff re: Rebuttal                 0.5     305.00       152.50
                               Rebuttal Reports
12/21/2021 McNally, Katheryn   Other Expert Reports - Analysis   review comps identified by Bates White                  1.1     625.00       687.50
                               for Rebuttal / Deposition
   Date     Employee Name              Task Category                             Description                   Hours         Rate       Amount
12/21/2021 McNally, Katheryn   Report Preparation Including    Call with Bmartisauski, AMBoswell to                    0.2     625.00       125.00
                               Rebuttal Reports                discuss Bates White estimation rebuttal
12/21/2021 McNally, Katheryn   Other Expert Reports - Analysis Call with A. Harriman and A. Young re:                  0.7     625.00       437.50
                               for Rebuttal / Deposition       valuation scenarios and age of abuse rebuttal
                                                               analysis
12/21/2021 McNally, Katheryn   Report Preparation Including    Edit rebuttal to Bates White estimation                 0.6     625.00       375.00
                               Rebuttal Reports                report
12/21/2021 McNally, Katheryn   Report Preparation Including    Edit rebuttal to Bates White estimation                 3.6     625.00      2,250.00
                               Rebuttal Reports                report
12/21/2021 McNally, Katheryn   Report Preparation Including    Edit rebuttal to Bates White estimation                 2.6     625.00      1,625.00
                               Rebuttal Reports                report
12/21/2021 Young, Andrew       Other Expert Reports - Analysis Call with K. McNally and A. Harriman re:                0.7     305.00       213.50
                               for Rebuttal / Deposition       valuation scenarios and age of abuse rebuttal
                                                               analysis
12/21/2021 DeLarm, Carolyn     Other Expert Reports - Analysis Research named abusers of prior settlements.            0.9     290.00       261.00
                               for Rebuttal / Deposition

12/21/2021 Boswell, Anne       Other Expert Reports - Analysis SOL - Bates White comp - research and                   3.0     305.00       915.00
           Margaret            for Rebuttal / Deposition       summarization

12/21/2021 Harriman, Allison   Other Expert Reports - Analysis Call with Andrew re: database QC                        0.2     395.00        79.00
                               for Rebuttal / Deposition

12/21/2021 Trilla, Barry       Other Expert Reports - Analysis Bates estimation report settlement data                 1.8     395.00       711.00
                               for Rebuttal / Deposition       analysis

12/21/2021 Harriman, Allison   Other Expert Reports - Analysis Internal correspondence with Andrew re:                 0.3     395.00       118.50
                               for Rebuttal / Deposition       review of valuation scenarios

12/21/2021 Young, Andrew       Other Expert Reports - Analysis Call with Allison re: database QC                       0.2     305.00        61.00
                               for Rebuttal / Deposition

12/21/2021 Harriman, Allison   Other Expert Reports - Analysis Call with K. McNally and A. Young re:                   0.7     395.00       276.50
                               for Rebuttal / Deposition       valuation scenarios and age of abuse rebuttal
                                                               analysis
12/21/2021 Harriman, Allison   Other Expert Reports - Analysis Comparison of new Tranche 6 data                        3.0     395.00      1,185.00
                               for Rebuttal / Deposition

12/21/2021 Woloszyk, Evan      Report Preparation Including      Rebuttal Presentation QC                              1.8     265.00       477.00
                               Rebuttal Reports
12/21/2021 Martisauski, Brad   Report Preparation Including      Call with KMcNally, AMBoswell to discuss              0.2     265.00        53.00
                               Rebuttal Reports                  Bates White estimation rebuttal
12/21/2021 Martisauski, Brad   Other Expert Reports - Analysis   Comparable settlement analysis (Rebuttal) -           3.4     265.00       901.00
                               for Rebuttal / Deposition         reviewing Bates White potential outside
                                                                 comparables (SOL) for Claro analysis

12/21/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -             1.6     265.00       424.00
                               for Rebuttal / Deposition       reviewing Bates White potential outside
                                                               comparables to inflation trends for Claro
                                                               analysis
12/21/2021 Raiff, Matthew      Report Preparation Including    Call with #1 Andrew Young re: Rebuttal                  0.5     625.00       312.50
                               Rebuttal Reports
12/21/2021 Raiff, Matthew      Other Expert Reports - Analysis Call #2 with Andrew Young re: Rebuttal                  1.0     625.00       625.00
                               for Rebuttal / Deposition

12/21/2021 Young, Andrew       Other Expert Reports - Analysis Call #2 with Matthew Raiff re: Rebuttal                 1.0     305.00       305.00
                               for Rebuttal / Deposition

12/21/2021 Young, Andrew       Other Expert Reports - Analysis Methodist Claims valuation                              1.5     305.00       457.50
                               for Rebuttal / Deposition

12/22/2021 Young, Andrew       Other Expert Reports - Analysis Internal correspondence with Carolyn re:                0.1     305.00        30.50
                               for Rebuttal / Deposition       Abuser analysis

12/22/2021 Young, Andrew       Other Expert Reports - Analysis Call with KMcNally, AMBoswell, and                      0.2     305.00        61.00
                               for Rebuttal / Deposition       Bmartisauski to discuss potential outside
                                                               comparables re: Bates White estimation
                                                               report
   Date     Employee Name              Task Category                             Description                    Hours         Rate       Amount
12/22/2021 McNally, Katheryn   Report Preparation Including    Edit rebuttal to Bates White estimation                  2.3     625.00     1,437.50
                               Rebuttal Reports                report
12/22/2021 McNally, Katheryn   Other Expert Reports - Analysis Call with Ayoung, AMBoswell, and                         0.2     625.00       125.00
                               for Rebuttal / Deposition       Bmartisauski to discuss potential outside
                                                               comparables re: Bates White estimation
                                                               report
12/22/2021 McNally, Katheryn   Report Preparation Including    Call with Mraiff to discuss rebuttal to Bates            0.8     625.00       500.00
                               Rebuttal Reports                White Estimation
12/22/2021 Young, Andrew       Other Expert Reports - Analysis Claro valuation database updates for rebuttal            1.5     305.00       457.50
                               for Rebuttal / Deposition

12/22/2021 DeLarm, Carolyn     Other Expert Reports - Analysis Research named abusers of prior settlements.             3.7     290.00      1,073.00
                               for Rebuttal / Deposition

12/22/2021 Boswell, Anne       Other Expert Reports - Analysis SOL - state law and settlement research                  3.2     305.00       976.00
           Margaret            for Rebuttal / Deposition

12/22/2021 Boswell, Anne       Other Expert Reports - Analysis Call with Ayoung, KMcNally, and                          0.2     305.00        61.00
           Margaret            for Rebuttal / Deposition       Bmartisauski to discuss potential outside
                                                               comparables re: Bates White estimation
                                                               report
12/22/2021 Boswell, Anne       Other Expert Reports - Analysis SOL - state law and settlement research -                3.0     305.00       915.00
           Margaret            for Rebuttal / Deposition       cont'd

12/22/2021 Harriman, Allison   Other Expert Reports - Analysis Analysis of data rebuttal, age of abuse                  2.0     395.00       790.00
                               for Rebuttal / Deposition       analysis, further rebuttal analysis

12/22/2021 Young, Andrew       Other Expert Reports - Analysis Methodist Claims valuation                               1.7     305.00       518.50
                               for Rebuttal / Deposition

12/22/2021 Raiff, Matthew      Report Preparation Including      Call with KMcNally to discuss rebuttal to              0.8     625.00       500.00
                               Rebuttal Reports                  Bates White Estimation
12/22/2021 Raiff, Matthew      Other Expert Reports - Analysis   Correspondence to team re: Bates White                 0.7     625.00       437.50
                               for Rebuttal / Deposition         Estimation rebuttal

12/22/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -              1.9     265.00       503.50
                               for Rebuttal / Deposition       continue reviewing Bates White potential
                                                               outside comparables (SOL) for Claro
                                                               analysis
12/22/2021 Martisauski, Brad   Other Expert Reports - Analysis Call with Ayoung, AMBoswell, and                         0.2     265.00        53.00
                               for Rebuttal / Deposition       KMcNally to discuss potential outside
                                                               comparables re: Bates White estimation
                                                               report
12/22/2021 Martisauski, Brad   Other Expert Reports - Analysis Comparable settlement analysis (Rebuttal) -              3.9     265.00      1,033.50
                               for Rebuttal / Deposition       reviewing Bates White potential outside
                                                               comparables (SOL) for Claro analysis

12/22/2021 Harriman, Allison   Other Expert Reports - Analysis Review of valuations scenarios                           1.0     395.00       395.00
                               for Rebuttal / Deposition

12/22/2021 McHenry, Gina       Report Preparation Including      Review and edit KCIC Rebuttal                          1.6     395.00       632.00
                               Rebuttal Reports
12/22/2021 McHenry, Gina       Report Preparation Including      Call with Katie re: Supplemental Report and            0.1     395.00        39.50
                               Rebuttal Reports                  KCIC Report updates
12/22/2021 McNally, Katheryn   Report Preparation Including      Call with Gina re: Supplemental Report and             0.1     625.00        62.50
                               Rebuttal Reports                  KCIC Report updates
12/22/2021 Nguyen, Hung        Other Expert Reports - Analysis   Perform data comparison of latest BSA's file           1.5     350.00       525.00
                               for Rebuttal / Deposition         to previous received file to identify
                                                                 differences.
12/23/2021 Boswell, Anne       Fee Application                   November fee application - edits                       4.0     305.00      1,220.00
           Margaret
12/23/2021 Raiff, Matthew      Other Expert Reports - Analysis Correspondence to team re: Bates White                   1.5     625.00       937.50
                               for Rebuttal / Deposition       Estimation rebuttal

12/23/2021 Young, Andrew       Other Expert Reports - Analysis Internal correspondence with Katie re:                   0.3     305.00        91.50
                               for Rebuttal / Deposition       Methodist Claims
   Date      Employee Name               Task Category                         Description                        Hours         Rate       Amount
12/23/2021 DeLarm, Carolyn       Other Expert Reports - Analysis Research named abusers of prior settlements.             1.0     290.00       290.00
                                 for Rebuttal / Deposition

12/23/2021 McNally, Katheryn     Report Preparation Including      review sampling reference material / books             0.4     625.00       250.00
                                 Rebuttal Reports
12/23/2021 Young, Andrew         Report Preparation Including      Updated Chubb presentation                             1.0     305.00       305.00
                                 Rebuttal Reports
12/26/2021 Raiff, Matthew        Report Preparation Including      Assess our rebuttal arguments to Bates White           2.0     625.00      1,250.00
                                 Rebuttal Reports
12/27/2021 McNally, Katheryn     Report Preparation Including      Call with T. Flanagan re: status of rebuttal           0.5     625.00       312.50
                                 Rebuttal Reports                  reports
12/27/2021 McNally, Katheryn     Report Preparation Including      Updates to BW Rebuttal                                 1.6     625.00      1,000.00
                                 Rebuttal Reports
12/27/2021 Raiff, Matthew        Report Preparation Including      Assess our rebuttal arguments to Bates White           2.0     625.00      1,250.00
                                 Rebuttal Reports
12/27/2021 Smith, Hannah         Other Expert Reports - Analysis   Supplemental Report Analysis                           2.0     265.00       530.00
                                 for Rebuttal / Deposition

12/28/2021 Boswell, Anne         Fee Application                 Fee application edits with correspondence to             0.7     305.00       213.50
           Margaret                                              Katie and Gina
12/28/2021 Young, Andrew         Other Expert Reports - Analysis Methodist claims valuation analysis                      1.4     305.00       427.00
                                 for Rebuttal / Deposition

12/28/2021 McHenry, Gina         Report Preparation Including      Edit and Review KCIC Rebuttal                          0.8     395.00       316.00
                                 Rebuttal Reports
12/28/2021 Cadarette Jr., John   Report Preparation Including      Correspondence re Zurich rebuttal report               0.4     675.00       270.00
                                 Rebuttal Reports
12/28/2021 McNally, Katheryn     Report Preparation Including      updates to supplement report                           1.2     625.00       750.00
                                 Rebuttal Reports
12/28/2021 Smith, Hannah         Other Expert Reports - Analysis   Supplemental Report Analysis                           3.0     265.00       795.00
                                 for Rebuttal / Deposition

12/29/2021 McHenry, Gina         Fee Application                   September Fee Application                              1.3     395.00       513.50
12/29/2021 Cadarette Jr., John   Report Preparation Including      review draft Zurich rebuttal report                    0.6     675.00       405.00
                                 Rebuttal Reports
12/29/2021 McNally, Katheryn     Report Preparation Including      call with Jschulman to discuss supplemental            0.2     625.00       125.00
                                 Rebuttal Reports                  report
12/29/2021 Smith, Hannah         Other Expert Reports - Analysis   Supplemental Report Analysis                           2.0     265.00       530.00
                                 for Rebuttal / Deposition

12/30/2021 McNally, Katheryn     Other Expert Reports - Analysis review Zurich term sheet and analyze related             0.8     625.00       500.00
                                 for Rebuttal / Deposition       Zurich allocations

12/30/2021 Smith, Hannah         Other Expert Reports - Analysis Supplemental Report Analysis                             1.5     265.00       397.50
                                 for Rebuttal / Deposition

12/30/2021 McNally, Katheryn     Other Expert Reports - Analysis coverage and allocation details to Jschulman             0.4     625.00       250.00
                                 for Rebuttal / Deposition       per request re: Zurich

12/30/2021 Young, Andrew         Other Expert Reports - Analysis TCJC Claim valuation analysis                            2.4     305.00       732.00
                                 for Rebuttal / Deposition

12/30/2021 McHenry, Gina         Other Expert Reports - Analysis Analyze KCIC's Supplemental Report and                   1.7     395.00       671.50
                                 for Rebuttal / Deposition       Zurich allocation

12/30/2021 Nicholson, Brent      Other Expert Reports - Analysis Review of Gutzler's Supplemental Report.                 1.8     495.00       891.00
                                 for Rebuttal / Deposition

12/31/2021 Harriman, Allison     Other Expert Reports - Analysis Makeda Murray report rebuttal analysis and               3.5     395.00      1,382.50
                                 for Rebuttal / Deposition       examples

12/31/2021 McNally, Katheryn     Report Preparation Including    prep for and call with T. Flanagan and A.                1.9     625.00      1,187.50
                                 Rebuttal Reports                Kornfeld to discuss rebuttal issues (bates
                                                                 white)
  1/1/2022 McHenry, Gina         Other Expert Reports - Analysis Analyze Local and National Council                       3.3     415.00      1,369.50
                                 for Rebuttal / Deposition       Aggregates Limits
 Date      Employee Name             Task Category                         Description                        Hours         Rate       Amount
1/1/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Treacy Expert Report                            1.5     370.00       555.00
                             for Rebuttal / Deposition

1/1/2022 Harriman, Allison   Other Expert Reports - Analysis Treacy sample analysis and comparison to                 1.5     415.00       622.50
                             for Rebuttal / Deposition       T6 database

1/1/2022 McNally, Katheryn   Other Expert Reports - Analysis develop methodology for Alternate Claro                  1.8     625.00      1,125.00
                             for Rebuttal / Deposition       Allocations in KCIC rebuttal

1/1/2022 McNally, Katheryn   Report Preparation Including      draft Treacy rebuttal                                  2.1     625.00      1,312.50
                             Rebuttal Reports
1/1/2022 Smith, Hannah       Report Preparation Including      Develop Claro Alternate Allocation Exhibits            5.0     280.00      1,400.00
                             Rebuttal Reports
1/1/2022 Nicholson, Brent    Other Expert Reports - Analysis Review correspondence and work papers                    1.3     520.00       676.00
                             for Rebuttal / Deposition       relating to Claro Alternate Allocations for
                                                             the rebuttal report.
1/2/2022 Nicholson, Brent    Other Expert Reports - Analysis Review Alternate and revised allocations for             1.8     520.00       936.00
                             for Rebuttal / Deposition       rebuttal report.

1/2/2022 Raiff, Matthew      Other Expert Reports - Analysis Provide feedback on Claro's Bates White                  0.5     625.00       312.50
                             for Rebuttal / Deposition       rebuttal arguments

1/2/2022 Nicholson, Brent    Other Expert Reports - Analysis Continued to review updated allocations for              2.3     520.00      1,196.00
                             for Rebuttal / Deposition       rebuttal report.

1/2/2022 McHenry, Gina       Other Expert Reports - Analysis Developed Alternate Claro Allocations                    1.1     415.00       456.50
                             for Rebuttal / Deposition

1/3/2022 Harriman, Allison   Report Preparation Including      Treacy Sample Analysis and Treacy rebuttal             1.0     415.00       415.00
                             Rebuttal Reports                  report updates
1/3/2022 Young, Andrew       Report Preparation Including      Rebuttal report valuation exhibits                     3.7     370.00      1,369.00
                             Rebuttal Reports
1/3/2022 Young, Andrew       Report Preparation Including      Rebuttal presentation preparation. updated             1.1     370.00       407.00
                             Rebuttal Reports                  tables and figures
1/3/2022 Smith, Hannah       Report Preparation Including      Edit and update KCIC Rebuttal Report and               2.5     280.00       700.00
                             Rebuttal Reports                  Supplemental Report
1/3/2022 Smith, Hannah       Report Preparation Including      Call with Gina re: Rebuttal updates                    0.8     280.00       224.00
                             Rebuttal Reports
1/3/2022 Raiff, Matthew      Other Expert Reports - Analysis   Provide feedback on Claro's Bates White                0.6     625.00       375.00
                             for Rebuttal / Deposition         rebuttal arguments

1/3/2022 McNally, Katheryn   Report Preparation Including    Updates to rebuttal to Bates White                       1.6     625.00      1,000.00
                             Rebuttal Reports
1/3/2022 McNally, Katheryn   Other Expert Reports - Analysis analyze allocation results for Alternate Claro           1.6     625.00      1,000.00
                             for Rebuttal / Deposition       Allocation

1/3/2022 McNally, Katheryn   Report Preparation Including      Updates to rebuttal to Treacy                          2.4     625.00      1,500.00
                             Rebuttal Reports
1/3/2022 McNally, Katheryn   Report Preparation Including      Updates to rebuttal to KCIC                            3.0     625.00      1,875.00
                             Rebuttal Reports
1/3/2022 McHenry, Gina       Report Preparation Including      Edit and update KCIC Rebuttal Report and               2.2     415.00       913.00
                             Rebuttal Reports                  Supplemental Report
1/3/2022 Burke, Evan         Other Expert Reports - Analysis   Coverage Review                                        0.8     305.00       244.00
                             for Rebuttal / Deposition

1/3/2022 McHenry, Gina       Report Preparation Including      Call with Hannah re: Rebuttal updates                  0.8     415.00       332.00
                             Rebuttal Reports
1/3/2022 Nicholson, Brent    Report Preparation Including    Review updated allocations and exhibits for              2.6     520.00      1,352.00
                             Rebuttal Reports                rebuttal report.
1/3/2022 Nicholson, Brent    Report Preparation Including    Continued to review updated allocations,                 2.7     520.00      1,404.00
                             Rebuttal Reports                exhibits, KCIC supplemental report for
                                                             rebuttal report.
1/3/2022 Nicholson, Brent    Other Expert Reports - Analysis Internal communication with team regarding               0.2     520.00       104.00
                             for Rebuttal / Deposition       updated allocations.

1/3/2022 Nicholson, Brent    Other Expert Reports - Analysis Call with Hannah and Gina re: Gulf                       0.3     520.00       156.00
                             for Rebuttal / Deposition       Insurance Company policies
 Date     Employee Name              Task Category                           Description                     Hours         Rate       Amount
1/3/2022 McHenry, Gina       Other Expert Reports - Analysis Continued to analyze and QC Alternate                   1.7     415.00       705.50
                             for Rebuttal / Deposition       Claro Allocations results

1/3/2022 McHenry, Gina       Other Expert Reports - Analysis Analyzed and QC'ed Alternate Claro                      4.0     415.00      1,660.00
                             for Rebuttal / Deposition       Allocations results

1/3/2022 Smith, Hannah       Other Expert Reports - Analysis Call with Brent and Gina re: Gulf Insurance             0.3     280.00        84.00
                             for Rebuttal / Deposition       Company policies

1/3/2022 Smith, Hannah       Report Preparation Including    Insurance Coverage Allocations and Exhibits             2.7     280.00       756.00
                             Rebuttal Reports                - revised and alternate allocations
1/3/2022 Smith, Hannah       Other Expert Reports - Analysis Allocation Comparison Analysis                          0.5     280.00       140.00
                             for Rebuttal / Deposition

1/3/2022 McHenry, Gina       Other Expert Reports - Analysis Call with Brent and Hannah re: Gulf                     0.3     415.00       124.50
                             for Rebuttal / Deposition       Insurance Company policies

1/4/2022 Smith, Hannah       Report Preparation Including      Call # 2 with Gina re: Rebuttal updates               0.7     280.00       196.00
                             Rebuttal Reports
1/4/2022 McNally, Katheryn   Report Preparation Including      updates and edits to KCIC/Treacy rebuttal             2.1     625.00      1,312.50
                             Rebuttal Reports                  and related exhibits
1/4/2022 Nicholson, Brent    Report Preparation Including      Review and update the rebuttal report.                2.3     520.00      1,196.00
                             Rebuttal Reports
1/4/2022 Nicholson, Brent    Report Preparation Including      Internal communication with Gina regarding            0.6     520.00       312.00
                             Rebuttal Reports                  the rebuttal report.
1/4/2022 Raiff, Matthew      Other Expert Reports - Analysis   Provide feedback on Claro's Bates White               1.5     625.00       937.50
                             for Rebuttal / Deposition         rebuttal arguments

1/4/2022 McNally, Katheryn   Report Preparation Including      Call with Ayoung to discuss Bates White               0.1     625.00        62.50
                             Rebuttal Reports                  rebuttal updates
1/4/2022 Smith, Hannah       Report Preparation Including      Call #1 with Gina re: Rebuttal updates.               1.0     280.00       280.00
                             Rebuttal Reports
1/4/2022 Smith, Hannah       Report Preparation Including      Rebuttal/Supplemental Report Edits                    1.5     280.00       420.00
                             Rebuttal Reports
1/4/2022 Woloszyk, Evan      Report Preparation Including      QC Rebuttal Report                                    1.1     280.00       308.00
                             Rebuttal Reports
1/4/2022 Young, Andrew       Report Preparation Including      Call with KMcNally to discuss Bates White             0.1     370.00        37.00
                             Rebuttal Reports                  rebuttal updates
1/4/2022 Young, Andrew       Report Preparation Including      Prepared rebuttal exhibits for submission             2.0     370.00       740.00
                             Rebuttal Reports
1/4/2022 Young, Andrew       Report Preparation Including    Rebuttal presentation preparation, slide                3.1     370.00      1,147.00
                             Rebuttal Reports                updates
1/4/2022 McNally, Katheryn   Report Preparation Including    updates and edits to Bates White rebuttal and           1.4     625.00       875.00
                             Rebuttal Reports                related exhibits
1/4/2022 Nicholson, Brent    Report Preparation Including    Continued to review updated allocations,                2.7     520.00      1,404.00
                             Rebuttal Reports                exhibits, KCIC supplemental report for
                                                             rebuttal report.
1/4/2022 McNally, Katheryn   Other Expert Reports - Analysis analyze Outside Potential Comparables from              2.6     625.00      1,625.00
                             for Rebuttal / Deposition       Bates White report for SOL status

1/4/2022 McHenry, Gina       Other Expert Reports - Analysis Call with I. Nasatir re: FEA Agreement                  0.1     415.00        41.50
                             for Rebuttal / Deposition

1/4/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with I. Nasatir & G. McHenry re: KCIC              0.5     625.00       312.50
                             for Rebuttal / Deposition       Rebuttal Issue

1/4/2022 Martisauski, Brad   Other Expert Reports - Analysis Review Bates White potential comparable                 2.2     280.00       616.00
                             for Rebuttal / Deposition       Settlements and perform Claro analysis on
                                                             Statute of Limitations
1/4/2022 McHenry, Gina       Report Preparation Including    Continue to review KCIC Rebuttal Report                 3.3     415.00      1,369.50
                             Rebuttal Reports                and Supplemental Report
1/4/2022 McHenry, Gina       Report Preparation Including    Call # 2 with Hannah re: Rebuttal updates               0.7     415.00       290.50
                             Rebuttal Reports
1/4/2022 McHenry, Gina       Report Preparation Including    QC KCIC Rebuttal Report exhibits                        2.7     415.00      1,120.50
                             Rebuttal Reports
1/4/2022 McHenry, Gina       Report Preparation Including    Call #1 with Hannah re: Rebuttal updates.               1.0     415.00       415.00
                             Rebuttal Reports
 Date      Employee Name             Task Category                               Description                   Hours         Rate       Amount
1/4/2022 Harriman, Allison   Report Preparation Including      Review and incorporate comments/edits to                3.4     415.00     1,411.00
                             Rebuttal Reports                  Bates White rebuttal report
1/4/2022 Harriman, Allison   Report Preparation Including      Review, QC, and tie out numbers in BW                   2.0     415.00       830.00
                             Rebuttal Reports                  rebuttal exhibits
1/4/2022 Harriman, Allison   Report Preparation Including      Review and QC of Gutzler/Treacy rebuttal                2.1     415.00       871.50
                             Rebuttal Reports                  report
1/4/2022 McHenry, Gina       Report Preparation Including      Call with I. Nasatir & K. McNally re: KCIC              0.5     415.00       207.50
                             Rebuttal Reports                  Rebuttal Issue
1/5/2022 Nicholson, Brent    Report Preparation Including      Continued to review and update the rebuttal             2.5     520.00      1,300.00
                             Rebuttal Reports                  report and exhibits.
1/5/2022 McNally, Katheryn   Report Preparation Including      Call with GMcHenry, Hsmith, Bnicholson to               0.3     625.00       187.50
                             Rebuttal Reports                  discuss KCIC rebuttal issues/rebuttal updates

1/5/2022 McNally, Katheryn   Report Preparation Including    updates and edits to KCIC/Treacy rebuttal                 3.8     625.00      2,375.00
                             Rebuttal Reports                and related exhibits
1/5/2022 McNally, Katheryn   Report Preparation Including    Call with I. Nasatir Jschulman and Tflanagan              0.3     625.00       187.50
                             Rebuttal Reports                to discuss KCIC rebuttal issue
1/5/2022 McNally, Katheryn   Other Expert Reports - Analysis call with Bmartisauski and AMBoswell to                   0.3     625.00       187.50
                             for Rebuttal / Deposition       discuss Outside Potential Comparables
                                                             analysis
1/5/2022 Raiff, Matthew      Other Expert Reports - Analysis Provide feedback on Claro's Bates White                   1.5     625.00       937.50
                             for Rebuttal / Deposition       rebuttal arguments

1/5/2022 Nicholson, Brent    Report Preparation Including      Review and update the rebuttal report and               2.1     520.00      1,092.00
                             Rebuttal Reports                  exhibits.
1/5/2022 Nicholson, Brent    Report Preparation Including      Call with GMcHenry, Hsmith, KMcNally to                 0.3     520.00       156.00
                             Rebuttal Reports                  discuss KCIC rebuttal issues/rebuttal updates

1/5/2022 Smith, Hannah       Report Preparation Including      Rebuttal/Supplemental Report and Exhibit                2.0     280.00       560.00
                             Rebuttal Reports                  Edits
1/5/2022 Smith, Hannah       Report Preparation Including      Call with GMcHenry, KMcNally, Bnicholson                0.3     280.00        84.00
                             Rebuttal Reports                  to discuss KCIC rebuttal issues/rebuttal
                                                               updates
1/5/2022 Young, Andrew       Report Preparation Including      Prepared rebuttal exhibits for submission               2.5     370.00       925.00
                             Rebuttal Reports
1/5/2022 Young, Andrew       Other Expert Reports - Analysis call with KMcNally to discuss Bates White                 0.2     370.00        74.00
                             for Rebuttal / Deposition       rebuttal

1/5/2022 McNally, Katheryn   Report Preparation Including      updates and edits to Bates White rebuttal and           3.1     625.00      1,937.50
                             Rebuttal Reports                  related exhibits
1/5/2022 McNally, Katheryn   Other Expert Reports - Analysis   call with Ayoung to discuss Bates White                 0.2     625.00       125.00
                             for Rebuttal / Deposition         rebuttal

1/5/2022 McNally, Katheryn   Report Preparation Including      Call with G McHenry re: BSA Rebuttal                    0.1     625.00        62.50
                             Rebuttal Reports                  report.
1/5/2022 Martisauski, Brad   Other Expert Reports - Analysis   call with KMcNally and AMBoswell to                     0.3     280.00        84.00
                             for Rebuttal / Deposition         discuss Outside Potential Comparables
                                                               analysis
1/5/2022 Harriman, Allison   Report Preparation Including      Review, QC, and tie out numbers in rebuttal             2.0     415.00       830.00
                             Rebuttal Reports                  exhibits 11 and 12
1/5/2022 McHenry, Gina       Report Preparation Including      QC Bates White Rebuttal Report                          3.4     415.00      1,411.00
                             Rebuttal Reports
1/5/2022 Harriman, Allison   Report Preparation Including      Review and analysis of data and docs                    1.8     415.00       747.00
                             Rebuttal Reports                  reviewing SOL analysis and filing date data

1/5/2022 Martisauski, Brad   Other Expert Reports - Analysis Review Bates White potential comparable                   2.7     280.00       756.00
                             for Rebuttal / Deposition       Settlements and perform Claro analysis on
                                                             Statute of Limitations
1/5/2022 McHenry, Gina       Other Expert Reports - Analysis QC KCIC Rebuttal Report exhibits                          0.7     415.00       290.50
                             for Rebuttal / Deposition

1/5/2022 McHenry, Gina       Report Preparation Including      Call with K McNally re: BSA Rebuttal                    0.1     415.00        41.50
                             Rebuttal Reports                  report.
1/5/2022 McHenry, Gina       Report Preparation Including      Call with KMcNally, Hsmith, Bnicholson to               0.3     415.00       124.50
                             Rebuttal Reports                  discuss KCIC rebuttal issues/rebuttal updates

1/5/2022 McHenry, Gina       Report Preparation Including      Finalize KCIC Rebuttal                                  1.9     415.00       788.50
                             Rebuttal Reports
 Date     Employee Name              Task Category                             Description                    Hours         Rate       Amount
1/5/2022 McHenry, Gina       Report Preparation Including      Upload and communication re: Rebuttal                  0.8     415.00       332.00
                             Rebuttal Reports                  report submission to Pachulski Stang
1/5/2022 Boswell, Anne       Other Expert Reports - Analysis   call with Bmartisauski and KMcNally to                 0.3     320.00        96.00
         Margaret            for Rebuttal / Deposition         discuss Outside Potential Comparables
                                                               analysis
1/5/2022 Boswell, Anne       Report Preparation Including      Comp Research QC                                       3.4     320.00      1,088.00
         Margaret            Rebuttal Reports
1/5/2022 Harriman, Allison   Report Preparation Including      Review of rebuttal report exhibits, rebuttal           1.9     415.00       788.50
                             Rebuttal Reports                  report updates for exhibits
1/5/2022 Harriman, Allison   Report Preparation Including      Review and QC of Gutzler/Treacy rebuttal               1.0     415.00       415.00
                             Rebuttal Reports                  report
1/6/2022 McNally, Katheryn   Other Expert Reports - Analysis   Review rebuttal report of bates white to               1.2     625.00       750.00
                             for Rebuttal / Deposition         Claro

1/6/2022 Young, Andrew       Other Expert Reports - Analysis Read Bates White Rebuttal Report                         1.3     370.00       481.00
                             for Rebuttal / Deposition

1/6/2022 Raiff, Matthew      Other Expert Reports - Analysis Read Bates White's Rebuttal Report                       1.5     625.00       937.50
                             for Rebuttal / Deposition

1/6/2022 McNally, Katheryn   Other Expert Reports - Analysis call with alan and tavi to discuss bates white           2.2     625.00      1,375.00
                             for Rebuttal / Deposition       rebuttal to claro

1/6/2022 Smith, Hannah       Other Expert Reports - Analysis Claro vs Other Expert Reports Insurance                  1.5     280.00       420.00
                             for Rebuttal / Deposition       Carrier Settlement Analysis

1/6/2022 Harriman, Allison   Other Expert Reports - Analysis Review of other experts' rebuttal reports                1.5     415.00       622.50
                             for Rebuttal / Deposition

1/6/2022 Harriman, Allison   Other Expert Reports - Analysis Review of Charlie Bates rebuttal report                  2.5     415.00      1,037.50
                             for Rebuttal / Deposition

1/6/2022 Harriman, Allison   Other Expert Reports - Analysis Review of Makeda Murray rebuttal report                  1.5     415.00       622.50
                             for Rebuttal / Deposition

1/6/2022 Smith, Hannah       Other Expert Reports - Analysis KCIC Rebuttal Analysis                                   2.0     280.00       560.00
                             for Rebuttal / Deposition

1/6/2022 McHenry, Gina       Other Expert Reports - Analysis Read and Analyzed Bates White Rebuttal                   1.3     415.00       539.50
                             for Rebuttal / Deposition

1/7/2022 Woloszyk, Evan      Other Expert Reports - Analysis Read and analyzed Bates White Rebuttal                   2.3     280.00       644.00
                             for Rebuttal / Deposition       Report/Rebuttal Verdict Analysis

1/7/2022 Woloszyk, Evan      Other Expert Reports - Analysis Call with Barry re: verdict comp discussion              0.4     280.00       112.00
                             for Rebuttal / Deposition       in BW rebuttal report

1/7/2022 Young, Andrew       Other Expert Reports - Analysis call with Btrilla, Ewoloszyk, Gmchenry,                  1.3     370.00       481.00
                             for Rebuttal / Deposition       Aharriman, KMcNally re: rebuttal report
                                                             review and analysis
1/7/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report                    1.2     625.00       750.00
                             for Rebuttal / Deposition

1/7/2022 Nicholson, Brent    Other Expert Reports - Analysis Review of the Gutzler rebuttal report.                   1.3     520.00       676.00
                             for Rebuttal / Deposition

1/7/2022 McNally, Katheryn   Other Expert Reports - Analysis call with Btrilla, Ewoloszyk, Gmchenry,                  1.3     625.00       812.50
                             for Rebuttal / Deposition       Aharriman, Ayoung, re: rebuttal report
                                                             review and analysis
1/7/2022 McNally, Katheryn   Other Expert Reports - Analysis analyze Bates White rebuttal to Claro                    1.1     625.00       687.50
                             for Rebuttal / Deposition

1/7/2022 Harriman, Allison   Other Expert Reports - Analysis Murray, Bates, and other expert reports                  2.0     415.00       830.00
                             for Rebuttal / Deposition       review

1/7/2022 Woloszyk, Evan      Other Expert Reports - Analysis call with Btrilla, KMcNally, Gmchenry,                   1.3     280.00       364.00
                             for Rebuttal / Deposition       Aharriman, Ayoung, re: rebuttal report
                                                             review and analysis
  Date     Employee Name              Task Category                         Description                     Hours         Rate       Amount
 1/7/2022 McHenry, Gina       Other Expert Reports - Analysis Worked on Gutzler Rebuttal notes                      2.1     415.00       871.50
                              for Rebuttal / Deposition

 1/7/2022 Trilla, Barry       Other Expert Reports - Analysis call with KMcNally, Ewoloszyk, Gmchenry,              1.3     415.00       539.50
                              for Rebuttal / Deposition       Aharriman, Ayoung, re: rebuttal report
                                                              review and analysis
 1/7/2022 Trilla, Barry       Other Expert Reports - Analysis Verdict comps analysis                                0.8     415.00       332.00
                              for Rebuttal / Deposition

 1/7/2022 Trilla, Barry       Other Expert Reports - Analysis BW rebuttal report analysis                           2.1     415.00       871.50
                              for Rebuttal / Deposition

 1/7/2022 Trilla, Barry       Other Expert Reports - Analysis Call with Evan re: verdict comp discussion            0.4     415.00       166.00
                              for Rebuttal / Deposition       in BW rebuttal report

 1/7/2022 Tecce, Brendan      Other Expert Reports - Analysis Research Sexual Abuse Studies cited in                2.2     320.00       704.00
                              for Rebuttal / Deposition       Bates White Report

 1/7/2022 Harriman, Allison   Other Expert Reports - Analysis call with Btrilla, Ewoloszyk, Gmchenry,               1.3     415.00       539.50
                              for Rebuttal / Deposition       KMcNally, Ayoung, re: rebuttal report
                                                              review and analysis
 1/7/2022 McHenry, Gina       Other Expert Reports - Analysis Read and Analyzed Bates White Rebuttal                2.2     415.00       913.00
                              for Rebuttal / Deposition

 1/7/2022 McHenry, Gina       Other Expert Reports - Analysis call with Btrilla, Ewoloszyk, KMcNally,               1.3     415.00       539.50
                              for Rebuttal / Deposition       Aharriman, Ayoung, re: rebuttal report
                                                              review and analysis
 1/9/2022 Trilla, Barry       Other Expert Reports - Analysis Verdict comp analysis re: points from BW              2.2     415.00       913.00
                              for Rebuttal / Deposition       rebuttal

 1/9/2022 Woloszyk, Evan      Other Expert Reports - Analysis Rebuttal Verdict Analysis                             3.8     280.00      1,064.00
                              for Rebuttal / Deposition

 1/9/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report                 0.2     625.00       125.00
                              for Rebuttal / Deposition

1/10/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report                 2.0     625.00      1,250.00
                              for Rebuttal / Deposition

1/10/2022 Young, Andrew       Other Expert Reports - Analysis Bates White rebuttal analysis                         1.1     370.00       407.00
                              for Rebuttal / Deposition

1/10/2022 Trilla, Barry       Other Expert Reports - Analysis Multi-Accuser settlement data analysis and            1.6     415.00       664.00
                              for Rebuttal / Deposition       QC

1/10/2022 Woloszyk, Evan      Other Expert Reports - Analysis Rebuttal Verdict Analysis                             1.4     280.00       392.00
                              for Rebuttal / Deposition

1/10/2022 Woloszyk, Evan      Other Expert Reports - Analysis Additional verdict information review                 3.9     280.00      1,092.00
                              for Rebuttal / Deposition

1/10/2022 McNally, Katheryn   Other Expert Reports - Analysis review Bates White rebuttal report                    2.3     625.00      1,437.50
                              for Rebuttal / Deposition

1/10/2022 Trilla, Barry       Other Expert Reports - Analysis Verdict comp analysis re: points from BW              3.1     415.00      1,286.50
                              for Rebuttal / Deposition       rebuttal

1/10/2022 Tecce, Brendan      Other Expert Reports - Analysis Research Sexual Abuse Studies cited in                3.2     320.00      1,024.00
                              for Rebuttal / Deposition       Bates White Report

1/10/2022 McNally, Katheryn   Other Expert Reports - Analysis develop deposition themes for Charles Bates           3.8     625.00      2,375.00
                              for Rebuttal / Deposition       based on review of Bates White estimation
                                                              report and rebuttal report
1/10/2022 Harriman, Allison   Other Expert Reports - Analysis Detailed review of Makeda Murray rebuttal             4.0     415.00      1,660.00
                              for Rebuttal / Deposition       report, document notes and points on report
                                                              and investigate any claim examples
  Date      Employee Name            Task Category                          Description                    Hours         Rate       Amount
1/10/2022 Trilla, Barry      Other Expert Reports - Analysis BW rebuttal additional documentation                  1.3     415.00       539.50
                             for Rebuttal / Deposition       analysis

1/11/2022 Woloszyk, Evan     Other Expert Reports - Analysis Additional Verdict information review                 2.8     280.00       784.00
                             for Rebuttal / Deposition

1/11/2022 Smith, Hannah      Other Expert Reports - Analysis Partial attendance of call/meeting with               0.3     280.00        84.00
                             for Rebuttal / Deposition       Btrilla, GMcHenry, Ayoung, Aharriman,
                                                             Ewoloszyk, KMcNally to discuss bates white
                                                             deposition themes
1/11/2022 Smith, Hannah      Other Expert Reports - Analysis Gutzler rebuttal analysis: Local Council              5.5     280.00      1,540.00
                             for Rebuttal / Deposition       Tracing Impact

1/11/2022 Tecce, Brendan     Other Expert Reports - Analysis Prepare Delayed Reporting Support Analysis            1.6     320.00       512.00
                             for Rebuttal / Deposition

1/11/2022 Tecce, Brendan     Other Expert Reports - Analysis Review Sexual Abuse Studies for relevant              2.5     320.00       800.00
                             for Rebuttal / Deposition       passages

1/11/2022 Trilla, Barry      Other Expert Reports - Analysis Call/meeting with KMcNally, GMcHenry,                 0.6     415.00       249.00
                             for Rebuttal / Deposition       Ayoung, Aharriman, Ewoloszyk, Hsmith
                                                             (partial) to discuss bates white deposition
                                                             themes
1/11/2022 Trilla, Barry      Other Expert Reports - Analysis Verdict comp analysis re: points from BW              1.2     415.00       498.00
                             for Rebuttal / Deposition       rebuttal

1/11/2022 Trilla, Barry      Other Expert Reports - Analysis Call/meeting with KMcNally and Ewoloszyk              0.7     415.00       290.50
                             for Rebuttal / Deposition       to discuss analysis of verdict comps

1/11/2022 Woloszyk, Evan     Other Expert Reports - Analysis Call/meeting with Btrilla and KMcNally to             0.7     280.00       196.00
                             for Rebuttal / Deposition       discuss analysis of verdict comps

1/11/2022 Woloszyk, Evan     Other Expert Reports - Analysis Rebuttal verdict analysis                             1.1     280.00       308.00
                             for Rebuttal / Deposition

1/11/2022 Woloszyk, Evan     Other Expert Reports - Analysis Call/meeting with Btrilla, GMcHenry,                  0.6     280.00       168.00
                             for Rebuttal / Deposition       Ayoung, Aharriman, KMcNally, Hsmith
                                                             (partial) to discuss bates white deposition
                                                             themes
1/11/2022 Nicholson, Brent   Other Expert Reports - Analysis Review debtor's documents.                            1.4     520.00       728.00
                             for Rebuttal / Deposition

1/11/2022 Young, Andrew      Other Expert Reports - Analysis call with KMcNally to discuss analysis of             0.4     370.00       148.00
                             for Rebuttal / Deposition       claims stats presented by Bates White

1/11/2022 Young, Andrew      Other Expert Reports - Analysis Bates White rebuttal analysis                         0.7     370.00       259.00
                             for Rebuttal / Deposition

1/11/2022 Young, Andrew      Other Expert Reports - Analysis Call/meeting with Btrilla, GMcHenry,                  0.6     370.00       222.00
                             for Rebuttal / Deposition       KMcNally, Aharriman, Ewoloszyk, Hsmith
                                                             (partial) to discuss bates white deposition
                                                             themes
1/11/2022 Young, Andrew      Other Expert Reports - Analysis Bates White rebuttal analysis                         3.7     370.00      1,369.00
                             for Rebuttal / Deposition

1/11/2022 Raiff, Matthew     Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report                 0.5     625.00       312.50
                             for Rebuttal / Deposition

1/11/2022 Smith, Hannah      Other Expert Reports - Analysis Call #2 with Gina re: Gutzler Rebuttal                0.5     280.00       140.00
                             for Rebuttal / Deposition       analysis

1/11/2022 Smith, Hannah      Other Expert Reports - Analysis Call #1 with Gina re: Gutzler Rebuttal                0.7     280.00       196.00
                             for Rebuttal / Deposition       analysis

1/11/2022 Nicholson, Brent   Other Expert Reports - Analysis Internal communication with Gina team                 0.1     520.00        52.00
                             for Rebuttal / Deposition       regarding rebuttal reports.
  Date      Employee Name             Task Category                           Description                    Hours         Rate       Amount
1/11/2022 Nicholson, Brent    Other Expert Reports - Analysis Call with Gina about Gutzler Rebuttal                  0.3     520.00       156.00
                              for Rebuttal / Deposition       analysis

1/11/2022 McHenry, Gina       Other Expert Reports - Analysis Worked on Gutzler Rebuttal analysis and                2.6     415.00      1,079.00
                              for Rebuttal / Deposition       deposition themes

1/11/2022 McHenry, Gina       Fee Application                 Call with Marji and Carla re: Fee                      0.5     415.00       207.50
                                                              Application process in bankruptcy courts.
1/11/2022 McHenry, Gina       Fee Application                 Worked on Fee Application                              0.8     415.00        332.00
1/11/2022 McNally, Katheryn   Other Expert Reports - Analysis develop themes and supporting analysis for             3.2     625.00      2,000.00
                              for Rebuttal / Deposition       Bates White deposition

1/11/2022 McHenry, Gina       Other Expert Reports - Analysis Call #2 with Hannah re: Gutzler Rebuttal               0.5     415.00       207.50
                              for Rebuttal / Deposition       Analysis

1/11/2022 McHenry, Gina       Other Expert Reports - Analysis Call/meeting with Btrilla, KMcNally,                   0.6     415.00       249.00
                              for Rebuttal / Deposition       Ayoung, Aharriman, Ewoloszyk, Hsmith
                                                              (partial) to discuss bates white deposition
                                                              themes
1/11/2022 McHenry, Gina       Other Expert Reports - Analysis Call with Brent about Gutzler Rebuttal                 0.3     415.00       124.50
                              for Rebuttal / Deposition       analysis

1/11/2022 McHenry, Gina       Other Expert Reports - Analysis Call #1 with Hannah re: Gutzler Rebuttal               0.7     415.00       290.50
                              for Rebuttal / Deposition       Analysis

1/11/2022 McHenry, Gina       Fee Application                 Reviewed Claro retention authorization                 1.0     415.00       415.00
1/11/2022 Harriman, Allison   Other Expert Reports - Analysis Review of Makeda Murray rebuttal report                1.6     415.00       664.00
                              for Rebuttal / Deposition       and document themes/notes

1/11/2022 Harriman, Allison   Other Expert Reports - Analysis Call/meeting with Btrilla, GMcHenry,                   0.6     415.00       249.00
                              for Rebuttal / Deposition       Ayoung, KMcNally, Ewoloszyk, Hsmith
                                                              (partial) to discuss bates white deposition
                                                              themes
1/11/2022 McNally, Katheryn   Other Expert Reports - Analysis meeting with Aharriman to discuss murray               0.2     625.00       125.00
                              for Rebuttal / Deposition       rebuttal

1/11/2022 McNally, Katheryn   Other Expert Reports - Analysis call with Ayoung to discuss analysis of                0.4     625.00       250.00
                              for Rebuttal / Deposition       claims stats presented by Bates White

1/11/2022 McNally, Katheryn   Other Expert Reports - Analysis Call/meeting with Btrilla, GMcHenry,                   0.6     625.00       375.00
                              for Rebuttal / Deposition       Ayoung, Aharriman, Ewoloszyk, Hsmith
                                                              (partial) to discuss bates white deposition
                                                              themes
1/11/2022 McNally, Katheryn   Other Expert Reports - Analysis Call/meeting with Btrilla and Ewoloszyk to             0.7     625.00       437.50
                              for Rebuttal / Deposition       discuss analysis of verdict comps

1/11/2022 Harriman, Allison   Other Expert Reports - Analysis meeting with KMcNally to discuss murray                0.2     415.00        83.00
                              for Rebuttal / Deposition       rebuttal

1/11/2022 Harriman, Allison   Other Expert Reports - Analysis Bates White Simulations review and analysis            3.8     415.00      1,577.00
                              for Rebuttal / Deposition

1/12/2022 Tecce, Brendan      Other Expert Reports - Analysis Update Delayed Reporting Support Analysis              2.0     320.00       640.00
                              for Rebuttal / Deposition

1/12/2022 Tecce, Brendan      Other Expert Reports - Analysis Review Sexual Abuse Studies for relevant               2.6     320.00       832.00
                              for Rebuttal / Deposition       passages

1/12/2022 Schoenfeld, Erika   Other Expert Reports - Analysis Call with Allison re: Makeda Murray rebuttal           0.4     320.00       128.00
                              for Rebuttal / Deposition       themes

1/12/2022 Schoenfeld, Erika   Other Expert Reports - Analysis Makeda Murray rebuttal note/comment                    0.9     320.00       288.00
                              for Rebuttal / Deposition       organization for Allison

1/12/2022 Smith, Hannah       Other Expert Reports - Analysis Call #1 with Gina re: Gutzler rebuttal                 0.1     280.00        28.00
                              for Rebuttal / Deposition       analysis
  Date      Employee Name             Task Category                           Description                     Hours         Rate       Amount
1/12/2022 Smith, Hannah       Other Expert Reports - Analysis Call with Gina and Brent re: Gutzler rebuttal           1.0     280.00       280.00
                              for Rebuttal / Deposition       analysis and deposition themes

1/12/2022 Smith, Hannah       Other Expert Reports - Analysis Call #2 with Gina re: Gutzler rebuttal                  0.6     280.00       168.00
                              for Rebuttal / Deposition       analysis

1/12/2022 Woloszyk, Evan      Other Expert Reports - Analysis Call with Barry on Verdict Factors                      0.4     280.00       112.00
                              for Rebuttal / Deposition

1/12/2022 Woloszyk, Evan      Other Expert Reports - Analysis Rebuttal comp analysis                                  3.5     280.00       980.00
                              for Rebuttal / Deposition

1/12/2022 Trilla, Barry       Other Expert Reports - Analysis Call with Evan on Verdict Factors                       0.4     415.00       166.00
                              for Rebuttal / Deposition

1/12/2022 Trilla, Barry       Other Expert Reports - Analysis BW rebuttal data and additional                         0.5     415.00       207.50
                              for Rebuttal / Deposition       documentation analysis

1/12/2022 Young, Andrew       Other Expert Reports - Analysis Bates White rebuttal analysis                           3.1     370.00      1,147.00
                              for Rebuttal / Deposition

1/12/2022 Young, Andrew       Other Expert Reports - Analysis Bates White rebuttal simulation review                  2.4     370.00       888.00
                              for Rebuttal / Deposition

1/12/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report                   1.5     625.00       937.50
                              for Rebuttal / Deposition

1/12/2022 Nicholson, Brent    Other Expert Reports - Analysis Call with Gina and Hannah re: Gutzler                   1.0     520.00       520.00
                              for Rebuttal / Deposition       rebuttal analysis and deposition themes

1/12/2022 Nicholson, Brent    Other Expert Reports - Analysis Internal communication with Gina and                    0.2     520.00       104.00
                              for Rebuttal / Deposition       Hannah team regarding rebuttal reports.

1/12/2022 Nicholson, Brent    Other Expert Reports - Analysis Review of rebuttal reports.                             1.7     520.00       884.00
                              for Rebuttal / Deposition

1/12/2022 Smith, Hannah       Other Expert Reports - Analysis Gutzler rebuttal analysis: Local Council                6.3     280.00      1,764.00
                              for Rebuttal / Deposition       Tracing Impact

1/12/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with A. Harriman re: Bates White                   0.5     625.00       312.50
                              for Rebuttal / Deposition       simulations in rebuttal report

1/12/2022 Harriman, Allison   Other Expert Reports - Analysis Bates White Simulations review and analysis             3.8     415.00      1,577.00
                              for Rebuttal / Deposition

1/12/2022 McNally, Katheryn   Other Expert Reports - Analysis develop potential depo themes for Bates                 2.1     625.00      1,312.50
                              for Rebuttal / Deposition       deposition

1/12/2022 McHenry, Gina       Other Expert Reports - Analysis Call #2 with Hannah re: Gutzler Rebuttal                0.6     415.00       249.00
                              for Rebuttal / Deposition       analysis

1/12/2022 McHenry, Gina       Other Expert Reports - Analysis Call #1 with Hannah re: Gutzler rebuttal                0.1     415.00        41.50
                              for Rebuttal / Deposition       analysis

1/12/2022 McHenry, Gina       Other Expert Reports - Analysis Worked on Gutzler Rebuttal analysis and                 3.8     415.00      1,577.00
                              for Rebuttal / Deposition       deposition themes

1/12/2022 McHenry, Gina       Other Expert Reports - Analysis Call with Hannah and Brent re: Gutzler                  1.0     415.00       415.00
                              for Rebuttal / Deposition       rebuttal analysis and deposition themes

1/12/2022 McHenry, Gina       Other Expert Reports - Analysis Gutzler Local Council analysis                          2.1     415.00       871.50
                              for Rebuttal / Deposition

1/12/2022 Harriman, Allison   Other Expert Reports - Analysis Call with K. McNally re: Bates White                    0.5     415.00       207.50
                              for Rebuttal / Deposition       simulations in rebuttal report
  Date      Employee Name               Task Category                            Description                 Hours         Rate       Amount
1/12/2022 Harriman, Allison     Other Expert Reports - Analysis Call with Erika re: Makeda Murray rebuttal           0.4     415.00       166.00
                                for Rebuttal / Deposition       themes

1/12/2022 Harriman, Allison     Other Expert Reports - Analysis Review of Makeda Murray rebuttal report              1.3     415.00       539.50
                                for Rebuttal / Deposition       and document themes/notes

1/12/2022 McNally, Katheryn     Other Expert Reports - Analysis Call with Tavi Flanagan to discuss Bates             0.7     625.00       437.50
                                for Rebuttal / Deposition       White deposition

1/12/2022 McNally, Katheryn     Other Expert Reports - Analysis BSA Sexual Abuse Claim analysis                      0.8     625.00       500.00
                                for Rebuttal / Deposition

1/12/2022 McNally, Katheryn     Other Expert Reports - Analysis develop depo topics for Treacy                       1.6     625.00      1,000.00
                                for Rebuttal / Deposition

1/13/2022 McNally, Katheryn     Other Expert Reports - Analysis Develop deposition themes for Burnett                1.9     625.00      1,187.50
                                for Rebuttal / Deposition

1/13/2022 Raiff, Matthew        Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report                1.2     625.00       750.00
                                for Rebuttal / Deposition

1/13/2022 DeLarm, Carolyn       Other Expert Reports - Analysis Gather sources cited in Bates Rebuttal.              2.5     305.00       762.50
                                for Rebuttal / Deposition

1/13/2022 Young, Andrew         Other Expert Reports - Analysis Reviewed Gnarus rebuttal                             3.9     370.00      1,443.00
                                for Rebuttal / Deposition

1/13/2022 Trilla, Barry         Other Expert Reports - Analysis BW rebuttal analysis re: BSA comps                   0.8     415.00       332.00
                                for Rebuttal / Deposition

1/13/2022 Smith, Hannah         Other Expert Reports - Analysis Gutzler rebuttal analysis: Local Council             5.0     280.00      1,400.00
                                for Rebuttal / Deposition       Tracing Impact

1/13/2022 Smith, Hannah         Other Expert Reports - Analysis Call #1 with Gina about Gutzler rebuttal             0.3     280.00        84.00
                                for Rebuttal / Deposition       analysis

1/13/2022 McNally, Katheryn     Other Expert Reports - Analysis Call with Gina re: Deposition Themes                 0.2     625.00       125.00
                                for Rebuttal / Deposition

1/13/2022 McNally, Katheryn     Other Expert Reports - Analysis Develop deposition themes for Bates White            3.2     625.00      2,000.00
                                for Rebuttal / Deposition

1/13/2022 McNally, Katheryn     Other Expert Reports - Analysis analysis of Bates White TDP simulation               1.1     625.00       687.50
                                for Rebuttal / Deposition

1/13/2022 Young, Andrew         Other Expert Reports - Analysis Bates White rebuttal simulation review               1.3     370.00       481.00
                                for Rebuttal / Deposition

1/13/2022 Harriman, Allison     Other Expert Reports - Analysis Pull together memo with BW TDP                       1.5     415.00       622.50
                                for Rebuttal / Deposition       simulation descriptions

1/13/2022 McHenry, Gina         Other Expert Reports - Analysis Call with Katie re: Deposition Themes                0.2     415.00        83.00
                                for Rebuttal / Deposition

1/13/2022   McNally, Katheryn   Fee Application                   review/edit fee application                        0.4     625.00        250.00
1/13/2022   Smith, Hannah       Fee Application                   Fee App Analysis                                   4.5     280.00      1,260.00
1/13/2022   McHenry, Gina       Fee Application                   Worked on Fee Application                          2.3     415.00        954.50
1/13/2022   McHenry, Gina       Other Expert Reports - Analysis   Worked on Gutzler Rebuttal analysis and            1.1     415.00        456.50
                                for Rebuttal / Deposition         deposition themes

1/13/2022 McHenry, Gina         Other Expert Reports - Analysis Call #1 with Hannah about Gutzler rebuttal           0.3     415.00       124.50
                                for Rebuttal / Deposition       analysis

1/13/2022 McHenry, Gina         Other Expert Reports - Analysis Gutzler Local Council analysis                       1.3     415.00       539.50
                                for Rebuttal / Deposition
  Date      Employee Name             Task Category                          Description                      Hours         Rate       Amount
1/13/2022 Harriman, Allison   Other Expert Reports - Analysis Bates White Simulations review and analysis             4.0     415.00     1,660.00
                              for Rebuttal / Deposition

1/13/2022 Harriman, Allison   Other Expert Reports - Analysis Review and analysis of TDP simulation from              2.5     415.00      1,037.50
                              for Rebuttal / Deposition       Bates White and comparison to actual TDP

1/14/2022 Harriman, Allison   Other Expert Reports - Analysis Review and analysis of TDP simulation from              1.7     415.00       705.50
                              for Rebuttal / Deposition       Bates White and comparison to actual TDP

1/14/2022 Raiff, Matthew      Other Expert Reports - Analysis Call with A. Young, K. McNally, and A.                  1.0     625.00       625.00
                              for Rebuttal / Deposition       Harriman re: Bates White simulations in
                                                              rebuttal report
1/14/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to                2.0     625.00      1,250.00
                              for Rebuttal / Deposition       develop deposition arguments

1/14/2022 Young, Andrew       Other Expert Reports - Analysis Bates White rebuttal analysis                           1.5     370.00       555.00
                              for Rebuttal / Deposition

1/14/2022 Young, Andrew       Other Expert Reports - Analysis Call with A. Harriman, K. McNally, and                  1.0     370.00       370.00
                              for Rebuttal / Deposition       Matt Raiff re: Bates White simulations in
                                                              rebuttal report
1/14/2022 Woloszyk, Evan      Other Expert Reports - Analysis Additional verdict information review                   1.3     280.00       364.00
                              for Rebuttal / Deposition

1/14/2022 Smith, Hannah       Other Expert Reports - Analysis Call #2 with Gina re: Gutzler rebuttal                  0.3     280.00        84.00
                              for Rebuttal / Deposition       analysis

1/14/2022 Nicholson, Brent    Other Expert Reports - Analysis Review rebuttal report comments and                     1.3     520.00       676.00
                              for Rebuttal / Deposition       questions for counsel.

1/14/2022 Nicholson, Brent    Other Expert Reports - Analysis Call with Gina re: Gutzler Deposition Notes             0.2     520.00       104.00
                              for Rebuttal / Deposition

1/14/2022 Nicholson, Brent    Other Expert Reports - Analysis Internal communication regarding deposition             0.3     520.00       156.00
                              for Rebuttal / Deposition       notes

1/14/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with A. Young, A. Harriman, and Matt               1.0     625.00       625.00
                              for Rebuttal / Deposition       Raiff re: Bates White simulations in rebuttal
                                                              report
1/14/2022 Harriman, Allison   Other Expert Reports - Analysis Review of and analysis of deposition                    1.0     415.00       415.00
                              for Rebuttal / Deposition       questions for counsel

1/14/2022 Harriman, Allison   Other Expert Reports - Analysis Call with A. Young, K. McNally, and Matt                1.0     415.00       415.00
                              for Rebuttal / Deposition       Raiff re: Bates White simulations in rebuttal
                                                              report
1/14/2022 McHenry, Gina       Fee Application                 Call with #1 with Hannah re: fee Application            0.9     415.00       373.50

1/14/2022 McHenry, Gina       Other Expert Reports - Analysis Worked on Gutzler Rebuttal analysis and                 2.2     415.00       913.00
                              for Rebuttal / Deposition       deposition themes

1/14/2022 McHenry, Gina       Fee Application                  Worked on Fee Application and expenses                 1.1     415.00       456.50
1/14/2022 McHenry, Gina       Fee Application                  Researched Fee Application procedures from             0.8     415.00       332.00
                                                               OMNI BSA Docket for compliance purposes

1/14/2022 Smith, Hannah       Fee Application                 Call with #1 with Gina re: fee Application              0.9     280.00        252.00
1/14/2022 Smith, Hannah       Fee Application                 Fee App Analysis                                        4.5     280.00      1,260.00
1/14/2022 McHenry, Gina       Other Expert Reports - Analysis Call with Brent re: Gutzler Deposition Notes            0.2     415.00         83.00
                              for Rebuttal / Deposition

1/14/2022 McHenry, Gina       Other Expert Reports - Analysis Call #2 with Hannah re: Gutzler rebuttal                0.3     415.00       124.50
                              for Rebuttal / Deposition       analysis

1/15/2022 McNally, Katheryn   Other Expert Reports - Analysis Review Bitar affirmative report and rebuttal            0.9     625.00       562.50
                              for Rebuttal / Deposition

1/15/2022 McNally, Katheryn   Other Expert Reports - Analysis Review Gutzler rebuttal                                 0.3     625.00       187.50
                              for Rebuttal / Deposition
  Date     Employee Name              Task Category                          Description                       Hours         Rate       Amount
1/15/2022 McNally, Katheryn   Other Expert Reports - Analysis Review Burnett rebuttal                                  0.5     625.00       312.50
                              for Rebuttal / Deposition

1/15/2022 McNally, Katheryn   Other Expert Reports - Analysis Review Scarcella rebuttal                                0.6     625.00       375.00
                              for Rebuttal / Deposition

1/15/2022 McNally, Katheryn   Other Expert Reports - Analysis Review and analyze Dubin report                          1.8     625.00      1,125.00
                              for Rebuttal / Deposition

1/16/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to                 1.0     625.00       625.00
                              for Rebuttal / Deposition       develop deposition arguments

1/16/2022 Young, Andrew       Other Expert Reports - Analysis Simulation Review                                        0.7     370.00       259.00
                              for Rebuttal / Deposition

1/16/2022 Trilla, Barry       Other Expert Reports - Analysis Dubin report analysis                                    2.8     415.00      1,162.00
                              for Rebuttal / Deposition

1/16/2022 McNally, Katheryn   Other Expert Reports - Analysis review and update Murray deposition outline              0.6     625.00       375.00
                              for Rebuttal / Deposition

1/16/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with Tflanagan and Akornfeld to prep                2.0     625.00      1,250.00
                              for Rebuttal / Deposition       for Burnett deposition

1/16/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of and document notes for claim                 1.5     415.00       622.50
                              for Rebuttal / Deposition       examples in Makeda Murray's rebuttal report

1/16/2022 Harriman, Allison   Other Expert Reports - Analysis Draft and analysis of deposition questions for           3.1     415.00      1,286.50
                              for Rebuttal / Deposition       Makeda Murray depo

1/16/2022 McNally, Katheryn   Other Expert Reports - Analysis review Murray affirmative and rebuttal                   0.7     625.00       437.50
                              for Rebuttal / Deposition       reports

1/17/2022 Woloszyk, Evan      Other Expert Reports - Analysis Dubin Report Analysis                                    3.1     280.00       868.00
                              for Rebuttal / Deposition

1/17/2022 Raiff, Matthew      Other Expert Reports - Analysis Call with Andrew Young re: Bates                         0.4     625.00       250.00
                              for Rebuttal / Deposition       Rebuttal/Deposition prep

1/17/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to                 1.6     625.00      1,000.00
                              for Rebuttal / Deposition       develop deposition arguments

1/17/2022 Young, Andrew       Other Expert Reports - Analysis Read Scarcella affirmative and rebuttal                  1.8     370.00       666.00
                              for Rebuttal / Deposition       reports

1/17/2022 Young, Andrew       McNally Deposition Preparation Read Griggs deposition                                    1.9     370.00       703.00

1/17/2022 Young, Andrew       Other Expert Reports - Analysis Call with Matt Raiff re: Bates                           0.4     370.00       148.00
                              for Rebuttal / Deposition       Rebuttal/Deposition prep

1/17/2022 McNally, Katheryn   Other Expert Reports - Analysis review summary of studies cited by Charles               0.3     625.00       187.50
                              for Rebuttal / Deposition       Bates

1/17/2022 McNally, Katheryn   Other Expert Reports - Analysis create Dubin deposition themes                           0.9     625.00       562.50
                              for Rebuttal / Deposition

1/17/2022 McNally, Katheryn   Other Expert Reports - Analysis review and update Murray deposition outline              1.8     625.00      1,125.00
                              for Rebuttal / Deposition

1/17/2022 McNally, Katheryn   Other Expert Reports - Analysis Create Treacy deposition outline                         2.2     625.00      1,375.00
                              for Rebuttal / Deposition

1/17/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of Treacy sample for deposition                 1.0     415.00       415.00
                              for Rebuttal / Deposition       question prep

1/17/2022 McNally, Katheryn   Other Expert Reports - Analysis create Scarcella deposition themes                       1.2     625.00       750.00
                              for Rebuttal / Deposition
  Date      Employee Name             Task Category                           Description                    Hours         Rate       Amount
1/18/2022 Young, Andrew       McNally Deposition Preparation Call with Carolyn re: Katie deposition                  0.3     370.00       111.00
                                                              prep/valuation
1/18/2022 Trilla, Barry       Other Expert Reports - Analysis Dubin report analysis                                  1.2     415.00       498.00
                              for Rebuttal / Deposition

1/18/2022 Trilla, Barry       Other Expert Reports - Analysis Call with Evan re: Dubin report                        0.9     415.00       373.50
                              for Rebuttal / Deposition

1/18/2022 Woloszyk, Evan      Other Expert Reports - Analysis Comparable case research                               0.4     280.00       112.00
                              for Rebuttal / Deposition

1/18/2022 DeLarm, Carolyn     McNally Deposition Preparation Compile summary of BSA valuation                        3.6     305.00      1,098.00
                                                              methodology for deposition prep.
1/18/2022 DeLarm, Carolyn     McNally Deposition Preparation Call with Andrew re: Katie deposition                   0.3     305.00        91.50
                                                              prep/valuation
1/18/2022 Young, Andrew       Other Expert Reports - Analysis Prep for Bates White deposition                        1.5     370.00       555.00
                              for Rebuttal / Deposition

1/18/2022 Young, Andrew       Other Expert Reports - Analysis Call with Allison re: Bates White                      1.0     370.00       370.00
                              for Rebuttal / Deposition       Simulations

1/18/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White produced documents                3.6     370.00      1,332.00
                              for Rebuttal / Deposition       re: selection bias, simulations, filing
                                                              threshold
1/18/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to               2.0     625.00      1,250.00
                              for Rebuttal / Deposition       develop deposition arguments

1/18/2022 Tecce, Brendan      Other Expert Reports - Analysis Update Delayed Reporting Analysis                      2.1     320.00       672.00
                              for Rebuttal / Deposition

1/18/2022 Woloszyk, Evan      Other Expert Reports - Analysis Call with Barry re: Dubin report                       0.9     280.00       252.00
                              for Rebuttal / Deposition

1/18/2022 Nicholson, Brent    Other Expert Reports - Analysis Review Gutzler deposition questions and                0.4     520.00       208.00
                              for Rebuttal / Deposition       expert reports.

1/18/2022 Smith, Hannah       Fee Application                 Call with Gina re: Fee App Analysis                    0.5     280.00       140.00
1/18/2022 Nicholson, Brent    Other Expert Reports - Analysis Internal communication with Gina team                  0.2     520.00       104.00
                              for Rebuttal / Deposition       regarding rebuttal reports.

1/18/2022 McNally, Katheryn   Report Preparation Including    Jlucas request for specific produced                   0.3     625.00       187.50
                              Rebuttal Reports                documents
1/18/2022 McNally, Katheryn   Other Expert Reports - Analysis review Burnett rough deposition transcript             2.3     625.00      1,437.50
                              for Rebuttal / Deposition

1/18/2022 Harriman, Allison   Other Expert Reports - Analysis Coming out of call with Matt Raiff, analysis           2.2     415.00       913.00
                              for Rebuttal / Deposition       of Claro valuation exhibits compared to
                                                              benchmarks
1/18/2022 Harriman, Allison   Other Expert Reports - Analysis Analyze Treacy sample to identify duplicate            2.0     415.00       830.00
                              for Rebuttal / Deposition       and multiple filings

1/18/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of Bates White Figure 6 and TDP               1.5     415.00       622.50
                              for Rebuttal / Deposition       simulations

1/18/2022 Harriman, Allison   Other Expert Reports - Analysis Call with Andrew Young re: Bates White                 1.0     415.00       415.00
                              for Rebuttal / Deposition       simulations

1/18/2022 Smith, Hannah       Fee Application                 Fee App Analysis: Fee App table sweep and              1.5     280.00       420.00
                                                              Fee App document updates
1/18/2022 McHenry, Gina       Other Expert Reports - Analysis Continue to work on Gutzler deposition                 3.7     415.00      1,535.50
                              for Rebuttal / Deposition       outline re: Local Council claim analysis

1/18/2022 McHenry, Gina       Fee Application                 Call with Gina re: Fee App Analysis                    0.5     415.00       207.50
1/18/2022 McHenry, Gina       Fee Application                 Worked on updates to Fee Application                   1.1     415.00       456.50
1/19/2022 Trilla, Barry       Other Expert Reports - Analysis Dubin deposition/rebuttal summary analysis             1.3     415.00       539.50
                              for Rebuttal / Deposition
  Date      Employee Name             Task Category                           Description                   Hours         Rate       Amount
1/19/2022 Trilla, Barry       Other Expert Reports - Analysis Dubin report analysis                                 1.8     415.00       747.00
                              for Rebuttal / Deposition

1/19/2022 Nicholson, Brent    Other Expert Reports - Analysis Review of Horewitz Rebuttal Report.                   0.8     520.00       416.00
                              for Rebuttal / Deposition

1/19/2022 Trilla, Barry       Other Expert Reports - Analysis Bates White rebuttal report analysis                  1.2     415.00       498.00
                              for Rebuttal / Deposition

1/19/2022 Smith, Hannah       Other Expert Reports - Analysis Gutzler rebuttal analysis: Local Council              4.0     280.00      1,120.00
                              for Rebuttal / Deposition       Tracing Impact

1/19/2022 Woloszyk, Evan      Other Expert Reports - Analysis Call with Barry and Katie to develop Dubin            0.5     280.00       140.00
                              for Rebuttal / Deposition       deposition themes

1/19/2022 Trilla, Barry       Other Expert Reports - Analysis Call with Evan and Katie to develop Dubin             0.5     415.00       207.50
                              for Rebuttal / Deposition       deposition themes

1/19/2022 DeLarm, Carolyn     McNally Deposition Preparation Compile summary of BSA valuation                       1.4     305.00       427.00
                                                              methodology for deposition prep.
1/19/2022 Woloszyk, Evan      Other Expert Reports - Analysis Bitar report analysis                                 0.7     280.00       196.00
                              for Rebuttal / Deposition

1/19/2022 Woloszyk, Evan      Other Expert Reports - Analysis Dubin rebuttal analysis                               3.3     280.00       924.00
                              for Rebuttal / Deposition

1/19/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates Garlock expert report                  1.5     370.00       555.00
                              for Rebuttal / Deposition

1/19/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White source documents,                3.0     370.00      1,110.00
                              for Rebuttal / Deposition       simulation files

1/19/2022 Young, Andrew       McNally Deposition Preparation Call with Katie re: status/deposition prep             0.7     370.00       259.00

1/19/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White affirmative and                  1.3     370.00       481.00
                              for Rebuttal / Deposition       rebuttal reports re: selection bias

1/19/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to              2.0     625.00      1,250.00
                              for Rebuttal / Deposition       develop deposition arguments

1/19/2022 Smith, Hannah       Other Expert Reports - Analysis Continue Gutzler rebuttal analysis: Local             2.0     280.00       560.00
                              for Rebuttal / Deposition       Council Tracing Impact

1/19/2022 Nicholson, Brent    Other Expert Reports - Analysis Continued review of Horewitz Rebuttal                 0.7     520.00       364.00
                              for Rebuttal / Deposition       Report and drafting deposition questions.

1/19/2022 Nicholson, Brent    Other Expert Reports - Analysis Continued review Gutzler deposition                   0.9     520.00       468.00
                              for Rebuttal / Deposition       questions.

1/19/2022 Martisauski, Brad   Other Expert Reports - Analysis Developed Bitar deposition themes                     1.9     280.00       532.00
                              for Rebuttal / Deposition

1/19/2022 McHenry, Gina       Other Expert Reports - Analysis Continue to work on Gutzler deposition                0.7     415.00       290.50
                              for Rebuttal / Deposition       outline re: Hartford policies and Chartered
                                                              Organizations
1/19/2022 McHenry, Gina       Other Expert Reports - Analysis Work on Gutzler deposition outline re:                4.0     415.00      1,660.00
                              for Rebuttal / Deposition       Hartford settled policies and Chartered
                                                              Organizations
1/19/2022 McHenry, Gina       Fee Application                 Communication with Katie and Tavi re: Fee             0.8     415.00       332.00
                                                              Application
1/19/2022 McNally, Katheryn   Fee Application                 first monthly fee application review                  0.4     625.00       250.00
1/19/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of Bates White Figure 6 and TDP              2.0     415.00       830.00
                              for Rebuttal / Deposition       simulations

1/19/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of TDP procedures and develop                2.0     415.00       830.00
                              for Rebuttal / Deposition       TDP matrix
  Date     Employee Name              Task Category                          Description                     Hours         Rate       Amount
1/19/2022 McHenry, Gina       Other Expert Reports - Analysis Read Gnarus coverage section of rebuttal               0.8     415.00       332.00
                              for Rebuttal / Deposition       report

1/19/2022 McNally, Katheryn   McNally Deposition Preparation Call with Andrew re: status/deposition prep             0.7     625.00       437.50

1/19/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with Jlucas to discuss TDP functions              0.3     625.00       187.50
                              for Rebuttal / Deposition

1/19/2022 McNally, Katheryn   Other Expert Reports - Analysis review Horowitz rebuttal                               0.7     625.00       437.50
                              for Rebuttal / Deposition

1/19/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with Ewoloszyk and Btrilla to develop             0.5     625.00       312.50
                              for Rebuttal / Deposition       dubin deposition themes

1/19/2022 McNally, Katheryn   Other Expert Reports - Analysis prepare scarcella dep outline                          2.6     625.00      1,625.00
                              for Rebuttal / Deposition

1/19/2022 McNally, Katheryn   Other Expert Reports - Analysis Review TDP discounting methodology                     0.4     625.00       250.00
                              for Rebuttal / Deposition

1/19/2022 Nicholson, Brent    Other Expert Reports - Analysis Internal communication with Gina team                  0.2     520.00       104.00
                              for Rebuttal / Deposition       regarding rebuttal reports.

1/19/2022 McNally, Katheryn   Other Expert Reports - Analysis Review Bates White Garlock report                      0.8     625.00       500.00
                              for Rebuttal / Deposition

1/20/2022 Woloszyk, Evan      Other Expert Reports - Analysis Bitar rebuttal themes                                  0.9     280.00       252.00
                              for Rebuttal / Deposition

1/20/2022 Smith, Hannah       Other Expert Reports - Analysis Continue Gutzler rebuttal analysis: Local              1.5     280.00       420.00
                              for Rebuttal / Deposition       Council Tracing Impact

1/20/2022 Smith, Hannah       Other Expert Reports - Analysis Review Burnett Deposition                              1.0     280.00       280.00
                              for Rebuttal / Deposition

1/20/2022 Trilla, Barry       Other Expert Reports - Analysis Dubin deposition/rebuttal summary analysis             0.9     415.00       373.50
                              for Rebuttal / Deposition

1/20/2022 Trilla, Barry       Other Expert Reports - Analysis Bates/McNally Deposition Meeting Session               0.9     415.00       373.50
                              for Rebuttal / Deposition       with Andrew

1/20/2022 Woloszyk, Evan      Other Expert Reports - Analysis Bates rebuttal analysis                                0.7     280.00       196.00
                              for Rebuttal / Deposition

1/20/2022 Young, Andrew       Other Expert Reports - Analysis Bates/McNally Deposition Meeting Session               0.9     370.00       333.00
                              for Rebuttal / Deposition       with Barry

1/20/2022 Woloszyk, Evan      McNally Deposition Preparation Deposition Prep                                         1.4     280.00       392.00

1/20/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White errata. reviewed new              2.6     370.00       962.00
                              for Rebuttal / Deposition       source documents produced

1/20/2022 Young, Andrew       McNally Deposition Preparation call with KMcNally and Aharriman to                     1.2     370.00       444.00
                                                             discuss outstanding items for deposition prep

1/20/2022 Young, Andrew       Other Expert Reports - Analysis Prepared topics for Bates deposition                   0.9     370.00       333.00
                              for Rebuttal / Deposition

1/20/2022 Young, Andrew       Other Expert Reports - Analysis Call with Matt Raiff and Allison Harriman              1.0     370.00       370.00
                              for Rebuttal / Deposition       re: Bates White simulations

1/20/2022 Raiff, Matthew      Other Expert Reports - Analysis Call with Allison Harriman and Andrew                  1.0     625.00       625.00
                              for Rebuttal / Deposition       Young re: Bates White simulations

1/20/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to               2.0     625.00      1,250.00
                              for Rebuttal / Deposition       develop deposition arguments
  Date      Employee Name             Task Category                            Description                   Hours         Rate       Amount
1/20/2022 Smith, Hannah       Other Expert Reports - Analysis Meeting with Gina Regarding Gutzler                    1.0     280.00       280.00
                              for Rebuttal / Deposition       rebuttal analysis: Local Council Tracing
                                                              Impact
1/20/2022 Smith, Hannah       Other Expert Reports - Analysis Gutzler rebuttal analysis: Local Council               4.0     280.00      1,120.00
                              for Rebuttal / Deposition       Tracing Impact

1/20/2022 McNally, Katheryn   McNally Deposition Preparation call with Ayoung and Aharriman to discuss               1.2     625.00       750.00
                                                             outstanding items for deposition prep

1/20/2022 Boswell, Anne       Other Expert Reports - Analysis Summarization of Karen Bitar research and              1.0     320.00       320.00
          Margaret            for Rebuttal / Deposition       correspondence to Evan

1/20/2022 McHenry, Gina       Other Expert Reports - Analysis Continue to Work on Gutzler deposition                 1.6     415.00       664.00
                              for Rebuttal / Deposition       outline re: Local Council policies and Local
                                                              Council Tranche IV analysis
1/20/2022 McHenry, Gina       Other Expert Reports - Analysis Work on Gutzler deposition outline re: Local           4.0     415.00      1,660.00
                              for Rebuttal / Deposition       Council policies

1/20/2022 McHenry, Gina       Other Expert Reports - Analysis Meeting with Hannah Regarding Gutzler                  1.0     415.00       415.00
                              for Rebuttal / Deposition       rebuttal analysis: Local Council Tracing
                                                              Impact
1/20/2022 Nicholson, Brent    Other Expert Reports - Analysis Internal communication with team regarding             0.2     520.00       104.00
                              for Rebuttal / Deposition       rebuttal reports.

1/20/2022 Boswell, Anne       Other Expert Reports - Analysis Karen Bitar case research                              3.5     320.00      1,120.00
          Margaret            for Rebuttal / Deposition

1/20/2022 Boswell, Anne       Other Expert Reports - Analysis Karen Bitar case research cont'd                       3.5     320.00      1,120.00
          Margaret            for Rebuttal / Deposition

1/20/2022 Harriman, Allison   Other Expert Reports - Analysis Call with Matt Raiff and Andrew Young re:              1.0     415.00       415.00
                              for Rebuttal / Deposition       Bates White simulations

1/20/2022 Harriman, Allison   Other Expert Reports - Analysis call with Ayoung and KMcNally to discuss               1.2     415.00       498.00
                              for Rebuttal / Deposition       outstanding items for deposition prep

1/20/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of Bates White Figure 6 and TDP               2.0     415.00       830.00
                              for Rebuttal / Deposition       simulations; analysis of reports and
                                                              schedules w/r/t selection bias
1/20/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with Tavi to discuss Treacy deposition            0.4     625.00       250.00
                              for Rebuttal / Deposition       and schedule for week

1/20/2022 Nicholson, Brent    Other Expert Reports - Analysis Continued review of Horewitz Rebuttal                  1.0     520.00       520.00
                              for Rebuttal / Deposition       Report and drafting deposition questions.

1/20/2022 Nicholson, Brent    Other Expert Reports - Analysis Continued review Gutzler deposition                    0.4     520.00       208.00
                              for Rebuttal / Deposition       questions.

1/21/2022 Nicholson, Brent    Other Expert Reports - Analysis Continued review of Horewitz Rebuttal                  1.7     520.00       884.00
                              for Rebuttal / Deposition       Report and drafting deposition questions.

1/21/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to               3.0     625.00      1,875.00
                              for Rebuttal / Deposition       develop deposition arguments

1/21/2022 Young, Andrew       Other Expert Reports - Analysis Prepared topics for Bates deposition                   2.8     370.00      1,036.00
                              for Rebuttal / Deposition

1/21/2022 Woloszyk, Evan      Other Expert Reports - Analysis Bitar rebuttal analysis                                0.6     280.00       168.00
                              for Rebuttal / Deposition

1/21/2022 Woloszyk, Evan      McNally Deposition Preparation Deposition preparation                                  2.9     280.00       812.00

1/21/2022 Smith, Hannah       Other Expert Reports - Analysis Gutzler rebuttal analysis: Local Council               1.0     280.00       280.00
                              for Rebuttal / Deposition       Tracing Impact

1/21/2022 Smith, Hannah       McNally Deposition Preparation Call with G. McHenry re: Katie's Depo Prep              0.3     280.00        84.00
  Date      Employee Name             Task Category                          Description                     Hours         Rate       Amount
1/21/2022 Nicholson, Brent    Other Expert Reports - Analysis Continued review Gutzler deposition                    0.4     520.00       208.00
                              for Rebuttal / Deposition       questions.

1/21/2022 Young, Andrew       Other Expert Reports - Analysis Read Burnett deposition                                1.9     370.00       703.00
                              for Rebuttal / Deposition

1/21/2022 McNally, Katheryn   Other Expert Reports - Analysis review Scarcella TDP scenario excel file               0.7     625.00       437.50
                              for Rebuttal / Deposition

1/21/2022 McNally, Katheryn   Other Expert Reports - Analysis analysis of Bitar CV and prior experience              0.6     625.00       375.00
                              for Rebuttal / Deposition

1/21/2022 McNally, Katheryn   Other Expert Reports - Analysis edit Scarcella deposition outline                      1.7     625.00      1,062.50
                              for Rebuttal / Deposition

1/21/2022 Harriman, Allison   Other Expert Reports - Analysis Review, analyze and draft questions for                2.1     415.00       871.50
                              for Rebuttal / Deposition       Charles Bates' deposition ; review of
                                                              Charles Bates affirmative and rebuttal
                                                              reports
1/21/2022 Harriman, Allison   Other Expert Reports - Analysis Read Scarcella rebuttal report; analysis of            3.4     415.00      1,411.00
                              for Rebuttal / Deposition       Scarcella TDP model

1/21/2022 McHenry, Gina       Other Expert Reports - Analysis Worked on Gutzler deposition outline re:               3.9     415.00      1,618.50
                              for Rebuttal / Deposition       Aggregate Limits

1/21/2022 McHenry, Gina       Fee Application                 Worked on Fee App updates                              0.7     415.00       290.50
1/21/2022 McHenry, Gina       Other Expert Reports - Analysis Reviewed Gnarus Coverage Deposition                    1.1     415.00       456.50
                              for Rebuttal / Deposition       questions

1/21/2022 McHenry, Gina       McNally Deposition Preparation Call with H. Smith re: Katie's Depo Prep                0.3     415.00       124.50

1/22/2022 Young, Andrew       McNally Deposition Preparation Support McNally preparation for deposition              2.1     370.00       777.00
                                                              on claim valuation
1/22/2022 McNally, Katheryn   Other Expert Reports - Analysis call with Tflanagan and Akornfeld to discuss           0.6     625.00       375.00
                              for Rebuttal / Deposition       Scarcella deposition

1/22/2022 McNally, Katheryn   Other Expert Reports - Analysis review and edit Bates deposition outline               2.4     625.00      1,500.00
                              for Rebuttal / Deposition

1/23/2022 Harriman, Allison   Other Expert Reports - Analysis Review, analyze and draft questions for                2.8     415.00      1,162.00
                              for Rebuttal / Deposition       Charles Bates' deposition ; review of
                                                              Charles Bates affirmative and rebuttal
                                                              reports
1/23/2022 McNally, Katheryn   Other Expert Reports - Analysis review and edit Bates deposition outline               1.3     625.00       812.50
                              for Rebuttal / Deposition

1/23/2022 McNally, Katheryn   Other Expert Reports - Analysis review and edit Gutzler deposition outline             2.6     625.00      1,625.00
                              for Rebuttal / Deposition

1/23/2022 Young, Andrew       Other Expert Reports - Analysis Bates deposition outline prep                          2.9     370.00      1,073.00
                              for Rebuttal / Deposition

1/23/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to               2.0     625.00      1,250.00
                              for Rebuttal / Deposition       develop deposition arguments

1/24/2022 McNally, Katheryn   Other Expert Reports - Analysis draft and edit Gutzler deposition outline              0.6     625.00       375.00
                              for Rebuttal / Deposition

1/24/2022 Smith, Hannah       McNally Deposition Preparation Insurance Coverage Guide Preparation for                4.0     280.00      1,120.00
                                                              Expert Deposition
1/24/2022 Raiff, Matthew      Other Expert Reports - Analysis Analyze Bates White's Rebuttal Report to               2.0     625.00      1,250.00
                              for Rebuttal / Deposition       develop deposition arguments

1/24/2022 Young, Andrew       Other Expert Reports - Analysis Bates deposition outline prep                          1.5     370.00       555.00
                              for Rebuttal / Deposition
  Date     Employee Name              Task Category                            Description                  Hours         Rate       Amount
1/24/2022 McNally, Katheryn   Other Expert Reports - Analysis draft and edit Bates deposition outline               2.9     625.00     1,812.50
                              for Rebuttal / Deposition

1/24/2022 McHenry, Gina       Other Expert Reports - Analysis Worked on Gutzler Deposition questions                1.2     415.00       498.00
                              for Rebuttal / Deposition

1/24/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with G. McHenry re: Gutzler Deposition           0.5     625.00       312.50
                              for Rebuttal / Deposition       questions

1/24/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of single vs. multiple accuser in            1.7     415.00       705.50
                              for Rebuttal / Deposition       BW tort simulation

1/24/2022 McHenry, Gina       Fee Application                 Worked on Fee Application                             0.3     415.00       124.50
1/24/2022 McHenry, Gina       Other Expert Reports - Analysis Call with K. McNally re: Gutzler Deposition           0.5     415.00       207.50
                              for Rebuttal / Deposition       questions

1/25/2022 McNally, Katheryn   Other Expert Reports - Analysis review Scarcella deposition transcript                0.4     625.00       250.00
                              for Rebuttal / Deposition

1/25/2022 Smith, Hannah       McNally Deposition Preparation Insurance Coverage Guide Preparation for               4.0     280.00      1,120.00
                                                              Expert Deposition
1/25/2022 Raiff, Matthew      Other Expert Reports - Analysis Develop relevant questions for Bates White            2.0     625.00      1,250.00
                              for Rebuttal / Deposition       deposition

1/25/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates cited docs                             1.3     370.00       481.00
                              for Rebuttal / Deposition

1/25/2022 Young, Andrew       McNally Deposition Preparation Katie deposition prep                                  1.9     370.00       703.00

1/25/2022 Young, Andrew       Other Expert Reports - Analysis Read Scarcella deposition                             0.8     370.00       296.00
                              for Rebuttal / Deposition

1/25/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with TFLanagan to discuss Bates                  0.7     625.00       437.50
                              for Rebuttal / Deposition       deposition outline

1/25/2022 Harriman, Allison   Other Expert Reports - Analysis QC of Bates Deposition outline and check              1.5     415.00       622.50
                              for Rebuttal / Deposition       references

1/25/2022 McNally, Katheryn   Other Expert Reports - Analysis draft and edit Bates deposition outline               2.6     625.00      1,625.00
                              for Rebuttal / Deposition

1/25/2022 McNally, Katheryn   Other Expert Reports - Analysis draft and edit Gutzler deposition outline             1.6     625.00      1,000.00
                              for Rebuttal / Deposition

1/25/2022 Harriman, Allison   McNally Deposition Preparation Review Katie McNally report and rebuttal to            2.5     415.00      1,037.50
                                                             draft mock deposition questions/outline

1/25/2022 McNally, Katheryn   Fee Application                 review and edit first fee application                 0.3     625.00       187.50
1/25/2022 Harriman, Allison   Other Expert Reports - Analysis Analysis of single vs. multiple accuser in            1.0     415.00       415.00
                              for Rebuttal / Deposition       BW tort simulation

1/25/2022 Harriman, Allison   Other Expert Reports - Analysis Review and analysis of Marc Scarcella                 2.1     415.00       871.50
                              for Rebuttal / Deposition       deposition transcript

1/26/2022 Smith, Hannah       McNally Deposition Preparation Insurance Coverage Guide Preparation for               2.0     280.00       560.00
                                                              Expert Deposition
1/26/2022 Raiff, Matthew      Other Expert Reports - Analysis Develop relevant questions for Bates White            0.8     625.00       500.00
                              for Rebuttal / Deposition       deposition

1/26/2022 Raiff, Matthew      McNally Deposition Preparation Discussion with Andrew re: Katie Deposition            1.2     625.00       750.00

1/26/2022 Young, Andrew       Other Expert Reports - Analysis Reviewed Bates White supplemental                     3.1     370.00      1,147.00
                              for Rebuttal / Deposition       report/updated valuations

1/26/2022 Young, Andrew       Other Expert Reports - Analysis Bates deposition outline prep                         2.6     370.00       962.00
                              for Rebuttal / Deposition
  Date      Employee Name            Task Category                           Description                       Hours         Rate       Amount
1/26/2022 Young, Andrew       McNally Deposition Preparation Discussion with Raiff re: Katie Deposition                1.2     370.00       444.00

1/26/2022 Woloszyk, Evan      McNally Deposition Preparation Deposition Preparation                                    1.2     280.00       336.00

1/26/2022 McNally, Katheryn   Other Expert Reports - Analysis drafting and edits to Bates deposition outline           3.6     625.00      2,250.00
                              for Rebuttal / Deposition

1/26/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with Tflanagan and Akornfeld to prep                2.3     625.00      1,437.50
                              for Rebuttal / Deposition       for Bates deposition

1/26/2022 McNally, Katheryn   Other Expert Reports - Analysis Review supporting data and analysis for                  3.8     625.00      2,375.00
                              for Rebuttal / Deposition       Bates supplemental report

1/26/2022 Harriman, Allison   Other Expert Reports - Analysis Review and analysis of Charles Bates                     4.0     415.00      1,660.00
                              for Rebuttal / Deposition       supplemental report; analysis of historical
                                                              BSA settlement averages
1/26/2022 Harriman, Allison   McNally Deposition Preparation Draft mock deposition questions/outline for               3.4     415.00      1,411.00
                                                              Katie McNally
1/26/2022 Harriman, Allison   Other Expert Reports - Analysis Continued review and analysis of Charles                 1.3     415.00       539.50
                              for Rebuttal / Deposition       Bates supplemental report; analysis of
                                                              historical BSA settlement averages
1/26/2022 Smith, Hannah       Fee Application                 Fee App Analysis: Fee App table sweep and                3.5     280.00       980.00
                                                              Fee App document updates
1/26/2022 McHenry, Gina       Fee Application                 Call with J. Lucas re: Fee Application                   0.1     415.00        41.50
                                                              submission
1/26/2022 McNally, Katheryn   Other Expert Reports - Analysis Review Bates Supplemental Report                         1.6     625.00      1,000.00
                              for Rebuttal / Deposition

1/27/2022 Young, Andrew       McNally Deposition Preparation Prepared for McNally Deposition                           2.9     370.00      1,073.00

1/27/2022 McNally, Katheryn   Other Expert Reports - Analysis second call with Tflanagan and Akornfeld to              0.6     625.00       375.00
                              for Rebuttal / Deposition       discuss Bates deposition / prep

1/27/2022 Young, Andrew       Other Expert Reports - Analysis Prepared for Bates Deposition                            1.9     370.00       703.00
                              for Rebuttal / Deposition

1/27/2022 Smith, Hannah       Other Expert Reports - Analysis Review Kolman Deposition                                 1.0     280.00       280.00
                              for Rebuttal / Deposition

1/27/2022 Young, Andrew       McNally Deposition Preparation Call with Allison Harriman re: prep for                   0.5     370.00       185.00
                                                              McNally mock deposition
1/27/2022 Raiff, Matthew      Other Expert Reports - Analysis Develop relevant questions for Bates White               2.0     625.00      1,250.00
                              for Rebuttal / Deposition       deposition

1/27/2022 Smith, Hannah       McNally Deposition Preparation Insurance Coverage Guide Preparation for                  1.0     280.00       280.00
                                                              Expert Deposition
1/27/2022 McNally, Katheryn   Other Expert Reports - Analysis call with Tflanagan and Akornfeld to discuss             1.0     625.00       625.00
                              for Rebuttal / Deposition       Bates deposition / prep

1/27/2022 McNally, Katheryn   Other Expert Reports - Analysis Develop deposition themes re: Gnarus                     0.4     625.00       250.00
                              for Rebuttal / Deposition

1/27/2022 McHenry, Gina       Other Expert Reports - Analysis Reviewed Kolman deposition                               0.4     415.00       166.00
                              for Rebuttal / Deposition

1/27/2022 Harriman, Allison   McNally Deposition Preparation Call with Andrew Young re: prep for                       0.5     415.00       207.50
                                                              McNally mock deposition
1/27/2022 Harriman, Allison   Other Expert Reports - Analysis Continued Review of Bates rebuttal report,               2.0     415.00       830.00
                              for Rebuttal / Deposition       McNally affirmative report and rebuttal
                                                              reports to prepare questions/outline for Mock
                                                              Deposition
1/27/2022 Harriman, Allison   Other Expert Reports - Analysis Review of Bates rebuttal report, McNally                 3.5     415.00      1,452.50
                              for Rebuttal / Deposition       affirmative report and rebuttal reports to
                                                              prepare questions/outline for Mock
                                                              Deposition
1/27/2022 Smith, Hannah       Fee Application                 Fee App Analysis: Fee App table sweep and                3.0     280.00       840.00
                                                              Fee App document updates
  Date      Employee Name            Task Category                           Description                     Hours         Rate       Amount
1/27/2022 Smith, Hannah       Fee Application                Call with G. McHenry re: Fee Application                0.5     280.00       140.00
                                                             updates
1/27/2022 McHenry, Gina       Fee Application                Call with H. Smith re: Fee Application                  0.5     415.00       207.50
                                                             updates
1/27/2022 McHenry, Gina       Fee Application                Internal Communication with K. McNally re:              0.3     415.00       124.50
                                                             Fee Application Updates
1/27/2022 McHenry, Gina       Fee Application                QC'ed Fee Application                                   0.6     415.00       249.00
1/27/2022 Harriman, Allison   McNally Deposition Preparation Draft mock deposition questions/outline for             1.0     415.00       415.00
                                                             Katie McNally
1/28/2022 Woloszyk, Evan      McNally Deposition Preparation Deposition preparation                                  0.9     280.00       252.00

1/28/2022 Smith, Hannah       McNally Deposition Preparation Insurance Coverage Guide Preparation for                5.0     280.00      1,400.00
                                                              Expert Deposition
1/28/2022 Raiff, Matthew      Other Expert Reports - Analysis Develop relevant questions for Bates White             1.5     625.00       937.50
                              for Rebuttal / Deposition       deposition

1/28/2022 Raiff, Matthew      McNally Deposition Preparation Call with Andrew Young and Allison                      0.5     625.00       312.50
                                                              Harriman re: prep for McNally mock
                                                              deposition
1/28/2022 Young, Andrew       Other Expert Reports - Analysis Bates deposition requests                              2.2     370.00       814.00
                              for Rebuttal / Deposition

1/28/2022 Young, Andrew       McNally Deposition Preparation Katie deposition prep                                   0.8     370.00       296.00

1/28/2022 Young, Andrew       McNally Deposition Preparation Call with Matt Raiff and Allison Harriman               0.5     370.00       185.00
                                                              re: prep for McNally mock deposition
1/28/2022 Nicholson, Brent    Other Expert Reports - Analysis Review Kolman deposition.                              1.1     520.00       572.00
                              for Rebuttal / Deposition

1/28/2022 Trilla, Barry       Other Expert Reports - Analysis Inflation calculation methodology analysis             1.8     415.00       747.00
                              for Rebuttal / Deposition

1/28/2022 McNally, Katheryn   Other Expert Reports - Analysis attend bates deposition                                7.5     625.00      4,687.50
                              for Rebuttal / Deposition

1/28/2022 Harriman, Allison   McNally Deposition Preparation Call with Matt Raiff and Andrew Young re:               0.5     415.00       207.50
                                                             prep for McNally mock deposition
1/28/2022 Harriman, Allison   McNally Deposition Preparation Continued review of Bates rebuttal report,              1.5     415.00       622.50
                                                             McNally affirmative report and rebuttal
                                                             reports to prepare questions/outline for Mock
                                                             Deposition
1/28/2022 Harriman, Allison   McNally Deposition Preparation Review of Bates rebuttal report, McNally                4.0     415.00      1,660.00
                                                             affirmative report and rebuttal reports to
                                                             prepare questions/outline for Mock
                                                             Deposition
1/29/2022 McHenry, Gina       McNally Deposition Preparation Reviewed McNally Dep prep questions                     0.5     415.00       207.50

1/29/2022 Harriman, Allison   McNally Deposition Preparation Call with Tflanagan, Akornfeld, KMcNally                2.0     415.00       830.00
                                                             to discuss preparation for McNally
                                                             deposition/Mock Deposition of KMcNally

1/29/2022 Harriman, Allison   McNally Deposition Preparation Follow up call with KMcNally to discuss                 0.5     415.00       207.50
                                                              next steps after prep call with counsel
1/29/2022 McNally, Katheryn   Other Expert Reports - Analysis Review Gutzler supplemental report                     0.6     625.00       375.00
                              for Rebuttal / Deposition

1/29/2022 McNally, Katheryn   Other Expert Reports - Analysis Re-review Bates rebuttal Report and                    1.2     625.00       750.00
                              for Rebuttal / Deposition       supporting materials

1/29/2022 McNally, Katheryn   McNally Deposition Preparation Call with Tflanagan, Akornfeld, Aharriman               2.0     625.00      1,250.00
                                                              to discuss preparation for McNally
                                                              deposition/Mock Deposition
1/29/2022 McNally, Katheryn   McNally Deposition Preparation Follow up call with Aharriman to discuss                0.3     625.00       187.50
                                                              next steps after prep call with counsel
1/30/2022 McNally, Katheryn   Other Expert Reports - Analysis Create deposition outline for Dubin                    2.6     625.00      1,625.00
                              for Rebuttal / Deposition
  Date      Employee Name             Task Category                          Description                      Hours         Rate           Amount
1/30/2022 Raiff, Matthew      McNally Deposition Preparation Develop relevant questions for McNally                   2.0     625.00         1,250.00
                                                              Deposition
1/31/2022 Nicholson, Brent    Other Expert Reports - Analysis Review of the Kolman Deposition.                        1.2     520.00           624.00
                              for Rebuttal / Deposition

1/31/2022 Smith, Hannah       McNally Deposition Preparation Meeting with Katie, Gina, and Brent re:                  1.7     280.00           476.00
                                                             coverage preparation for deposition
1/31/2022 Smith, Hannah       McNally Deposition Preparation Insurance Coverage Guide Preparation for                 2.8     280.00           784.00
                                                             Expert Deposition
1/31/2022 Raiff, Matthew      McNally Deposition Preparation Develop relevant questions for McNally                   2.0     625.00          1,250.00
                                                             Deposition
1/31/2022 Young, Andrew       McNally Deposition Preparation McNally Deposition Prep                                  1.6     370.00           592.00

1/31/2022 Young, Andrew       Other Expert Reports - Analysis Single/Multi Accuser Analysis                           1.9     370.00           703.00
                              for Rebuttal / Deposition

1/31/2022 Woloszyk, Evan      McNally Deposition Preparation Deposition Preparation                                   1.1     280.00           308.00

1/31/2022 Trilla, Barry       Other Expert Reports - Analysis Verdict comp parameters analysis                        0.7     415.00           290.50
                              for Rebuttal / Deposition

1/31/2022 Nicholson, Brent    McNally Deposition Preparation Meeting with Katie, Hannah, and Gina re:                 1.7     520.00           884.00
                                                              coverage preparation for deposition
1/31/2022 Nicholson, Brent    McNally Deposition Preparation Meeting with Gina and Allison re: deposition             0.8     520.00           416.00
                                                              questions
1/31/2022 Nicholson, Brent    McNally Deposition Preparation Preparation for deposition - Insurers point of           1.3     520.00           676.00
                                                              view.
1/31/2022 Nicholson, Brent    Other Expert Reports - Analysis Review of Gutzler's second supplemental                 1.8     520.00           936.00
                              for Rebuttal / Deposition       expert report.

1/31/2022 McHenry, Gina       McNally Deposition Preparation Meeting with Allison and Brent re:                       0.8     415.00           332.00
                                                              deposition questions
1/31/2022 McNally, Katheryn   McNally Deposition Preparation Meeting with Gina, Hannah, and Brent re:                 1.7     625.00          1,062.50
                                                              coverage preparation for deposition
1/31/2022 McNally, Katheryn   Other Expert Reports - Analysis Call with Tflanagan, Jschulman, and Inasatir            1.2     625.00           750.00
                              for Rebuttal / Deposition       to discuss Gutzler deposition

1/31/2022 McNally, Katheryn   McNally Deposition Preparation Re-review McNally reports and supporting                 3.1     625.00          1,937.50
                                                             analysis in preparation for deposition

1/31/2022 McNally, Katheryn   Other Expert Reports - Analysis Re-review Bates rebuttal Report and                     1.6     625.00          1,000.00
                              for Rebuttal / Deposition       supporting materials

1/31/2022 Harriman, Allison   Other Expert Reports - Analysis Read and analyze Dr. Bates deposition                   1.2     415.00           498.00
                              for Rebuttal / Deposition       transcript

1/31/2022 Harriman, Allison   McNally Deposition Preparation Meeting with Gina and Brent re: deposition               0.8     415.00           332.00
                                                             questions
1/31/2022 Harriman, Allison   McNally Deposition Preparation Review of McNally depo prep notes                        0.6     415.00           249.00

1/31/2022 Smith, Hannah       Fee Application                 Fee application analysis: breakdown of hours            0.5     280.00           140.00
                                                              and fees by person by scope of work

1/31/2022 McHenry, Gina       Other Expert Reports - Analysis Worked on Gutzler deposition questions re:              2.6     415.00          1,079.00
                              for Rebuttal / Deposition       local council policies

1/31/2022 McHenry, Gina       McNally Deposition Preparation Worked on coverage deposition prep                       2.8     415.00          1,162.00
                                                              questions for Katie.
1/31/2022 McHenry, Gina       Other Expert Reports - Analysis Internal Communication with Katie re:                   0.3     415.00           124.50
                              for Rebuttal / Deposition       Gutzler deposition questions

1/31/2022 McHenry, Gina       McNally Deposition Preparation Meeting with Katie, Hannah, and Brent re:                1.7     415.00           705.50
                                                             coverage preparation for deposition
GRAND TOTAL                                                                                                     1,737.2                $    713,435.50
